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                   EXHIBIT 9
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                                                                                                        13049621




                                                                                                    Nov 30 2006
                            UNITED STATES DISTRICT COURT                                              9:17AM

                             DISTRICT OF MASSACHUSETTS

 In re: PHARMACEUTICAL INDUSTRY                     )
 AVERAGE WHOLESALE PRICE                            )
 LITIGATION                                         )    MDL No. 1456
                                                    )    Civil Action No. 01-12257-PBS
                                                    )
 THIS DOCUMENT RELATES TO:                          )    Hon. Patti Saris
                                                    )
 United States of America ex rel. Ven-a-Care of     )    Chief Mag. Marianne Bowler
 the Florida Keys, Inc., v. Abbott Laboratories,    )
 Inc.                                               )
 CIVIL ACTION NO. 06-11337-PBS                      )



                 RESPONSE BY THE UNITED STATES TO ABBOTT’S
            FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                  AND TANGIBLE THINGS TO THE UNITED STATES

       Pursuant to Rule 34 of the Federal Rules of Civil Procedure, the United States provides

these responses to Abbott's First Set of Requests for Production of Documents and Tangible

Things (the “Requests”) to the United States.

                       Introductory Statements and General Objections

       1.      The United States objects to Abbott’'s definitions and instructions to the extent

they are inconsistent with or in excess of that which is required by the Federal Rules of Civil

Procedure, Local Rules of the District of Massachusetts or Case Management Orders applicable

to the above-captioned action.

       2.      The United States objects to these Requests to the extent that they are cumulative

and duplicative of Abbott’s other discovery requests, including but not limited to, third-party

subpoenas issued to the United States and its contractors by defendants in the Average

Wholesale Price Litigation Multi-District Litigation (“MDL”) No. 1456, and the In re Lupron
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Marketing & Sales Practice Litig. ("Lupron MDL") (D. Mass), MDL. No. 1430,

01-CV-10861-RGS.

       3.      The United States objects to these Requests to the extent they do not account for,

or are cumulative or duplicative of, the enormous volume of material the United States has

already produced to Abbott in prior MDL proceedings in the District of Massachusetts.

Specifically, in 2003, Abbott and other defendants served DHHS and the carriers who contract

with CMS to process claims under Medicare Part B (Medical Insurance) with numerous

subpoenas earlier in this very MDL proceeding, and in the Lupron MDL. Abbott and other

defendants obtained thousands of documents from the United States, which it has not

acknowledged in this case. The subpoenas directed to the carriers resulted in production by

CMS of approximately 92,000 pages. DHHS produced an additional 22,000 pages and 3,808

electronic files. Many of those documents are responsive to Requests and portions of these

Requests.

       4.      To the extent these Requests are broadly directed at other pharmaceutical

companies or entities and are not limited to Abbott, they are unreasonable, unduly burdensome,

not relevant, and not reasonably calculated to lead to the discovery of admissible evidence.

Additionally, to the extent these Requests seek information concerning entities other than Abbott

Laboratories Inc., they may be in violation of existing seals or protective orders mandated by

statute or by other courts of competent jurisdiction. Accordingly, these responses will be made

only with respect to Abbott.

       5.      Each response is subject to all objections as to competence, relevance,

materiality, and admissibility, and any and all other objections on grounds that would require the

exclusion of any statement or information contained herein if the introduction of such evidence

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was sought at the time of trial, all of which objections and grounds are reserved and may be

interposed at the time of trial. The fact that the United States has responded to any part or all of

any particular Request is not intended to and shall not be construed to be a waiver by the United

States of any objection to the relevance or admissibility of any evidence in this or any other

action.

          6.   The objections set forth herein are based on information now known to the United

States and its attorneys and are made without prejudice to the United States' right to assert

additional objections should grounds for objection be discovered at a later time. The United

States’ responses to these Requests shall not be construed as a waiver of any objection to other

discovery requests involving or relating to the same or similar subject matter of any of these

Requests. Additionally, the fact that the United States responds to any particular Request

should not be construed as an admission or acknowledgment of any fact set forth in, assumed by,

or inferred from any such Request.

          7.   Subject to and without waiving its objections, the United States will respond to

Requests or portions thereof to the best of its present ability. Because the United States has not

completed its discovery of the facts pertaining to this action or its preparation of this case for

trial, the United States reserves the right to supplement or amend its responses based upon any

facts, documents, or other evidence that may develop or come to its attention at a later time.

          8.   The United States objects to these Requests or parts thereof to the extent that they

seek information or documents which are in the possession, custody, or control of Abbott or are

publicly available and thus can be obtained from some other source (including but not limited to,

a public source) which is more convenient and less burdensome.

          9.   The United States objects to these Requests to the extent that they seek

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information protected from disclosure by privilege or doctrine, including the attorney-client

privilege, the work-product doctrine, the joint prosecution/ common interest doctrine, the

deliberative process privilege, the law enforcement investigative files privilege or any other

applicable basis for invoking privilege. The United States will screen materials and information

to be released to Abbott to remove privileged materials. To the extent there is any inadvertent

disclosure of privileged information, the United States reserves its right to argue that such

inadvertent disclosure shall not constitute any waiver of the privileges. The United States

reserves the right to object to the introduction into evidence before the Court at any time before

or at trial of information that is privileged or otherwise protected under law and that has been

revealed or produced inadvertently. The United States does not, by responding to these

Requests, waive any claim of privilege or the protection of any doctrine.

       10.     The United States objects to these Requests to the extent they require the United

States to draw legal conclusions or otherwise seek to impose upon the United States any

requirements beyond those established by the Federal Rules of Civil Procedure or the Local

Rules of the United States District Court for the District of Massachusetts.

       11.     The United States objects to these Requests to the extent that responding would

require it to violate any seal imposed by a Court, by statute in the context of a False Claims Act

qui tam matter, or the Federal Rules of Criminal Procedure, a grand jury proceeding, a criminal

sentencing or other disposition, or any other matter. The United States will not separately object

to any specific Request to assert this ground where doing so would itself identify a case currently

under seal.

       12.     The United States objects to these Requests to the extent that they seek material

which is not subject to release in the absence of a protective order under Fed. R. Civ. Proc.

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26(c)(7). To the extent that these Requests call for material subject to any applicable protective

order in this case, it will be produced subject to the terms of that order.

       13.     The United States objects to the scope of these Requests to the extent they call for

documents that are not within the possession, custody or control of the United States Department

of Health and Human Services’ Center for Medicare and Medicaid Services (CMS).

       14.     Subject to and without waiving any objections, where appropriate, the United

States will produce information available to CMS through its contracts with Medicare carriers.

The United States does not waive any objections to any assertions made by Abbott that those

contractors are part of CMS or parties to this action. The United States does not agree to be

bound by the decisions or actions of those contractors.

       15.     To the extent that these Requests call for the production of documents in the

possession, custody or control of "Medicaid Fiscal Intermediaries," other state contractors, or

from state Medicaid agencies, which are not in the possession, custody or control of the U.S.

Government, the United States is not obligated to obtain such documents from these entities and

produce those documents to Abbott pursuant to these Requests. Subject to and without waiving

any objections, the United States will produce any such documents within its possession, custody

or control that are not privileged or otherwise subject to protection, are relevant, or contain

information reasonably calculated to lead to the discovery of admissible evidence.

       16.     The United States objects to the extent that the Requests seek documents relating

to “Equivalent Drugs.” These Requests are vague, unduly burdensome, and neither relevant nor

reasonably calculated to lead to the discovery of admissible evidence.

       17.     The United States objects to each Request to the extent that it seeks information

beyond the scope of this litigation and not reasonably calculated to lead to the discovery of

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admissible evidence.

       18.     The United States objects to these Requests as overly broad, vague, unduly

burdensome, not relevant, and not reasonably calculated to lead to the discovery of admissible

evidence to the extent they seek information spanning 40 years when the conduct alleged in the

Complaint covers the time period from January 1, 1991 to January 31, 2001.

       19.     When the United States responds that it will produce documents in response to a

Request, it will produce such documents to the extent that they exist and can be reasonably

obtained. By stating that it will produce documents, the United States does not represent that

any such documents or things, in fact, exist or are within its possession, custody, or control.

       20.     These general objections apply to each Request and thus, for convenience, are not

repeated after each Request, but rather are set forth herein and hereby incorporated into each

response. The assertion of the same, similar, or additional objections or the provision of partial

responses to individual Requests does not and should not be construed to waive or modify any of

the United States’ general objections to each Request.

       21.     The United States reserves its right to update or supplement its responses and

objections to these Requests.

                           Objections to Definitions and Instructions

       1.      The United States objects to the inclusion of definitions and instructions in the

Requests that are neither invoked by nor referenced in any individual Request. Failure of the

United States to object to any particular definition or instruction in this document, particularly

definitions and instructions not applicable to these Requests in any way, should not be construed

as a waiver of any objection the United States may raise to an identical definition or instruction

in responding to discovery requests in this or any other action.

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       2.      The United States objects to Abbott’s definition of "Communication" in that the

terms "any oral or written exchange” of “thoughts or ideas” by “any process” are overly broad

and vague. Further, the United States objects to Abbott’s definition of “Communication” to the

extent that it purports to impose discovery obligations broader than the scope of permissible

discovery under the Federal Rules of Civil Procedure. Subject to and without waiving these

objections, the United States will look to the descriptive terms included in the Requests

themselves to determine the “circumstances” that render a Communication responsive to any

Request.

       3.      The United States objects to Abbott's definitions of the terms "Concern,”

“Concerning,” “Relating to" and “Relate to” as vague and ambiguous in that the proposed

definition, which includes the terms and phrases "embody,” “mention,” “support,” “contradict,”

“whether directly or indirectly,” and “as required by the context to bring within the scope of the

requests,” is not subject to objective application in identifying responsive information with the

reasonable particularity required by Fed. R. Civ. Proc. 34 .

       4.       The United States objects to Abbott's definition of "Documents" as overly broad

and vague in that the term is defined to include “communications” which Abbott defines by

reference to terms that are overly broad and vague. The United States objects to the inclusion

within the term "Documents” materials “which are in the possession of the Carrier” and to any

implication in the definitions that Carriers or other payment processing contractors are to be

included within the definition of the United States or any particular agency; those contractors are

not parties to these actions and, although the United States contracts with Carriers to perform

services, and will respond to these Requests by collecting documents available to it through

those contracts, the United States does not thereby admit to or agree to be bound by the decisions

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or actions of those Carriers. Further, the United States objects to the extent that Abbott’s

definition purports to impose obligations beyond the requirements of the Federal Rules of Civil

Procedure.

       5.      The United States objects to Abbott’s definition of “Identify.” The definition is

overly broad, in that with respect to persons, it seeks current contact information (including

personal residences). Any employees of the United States or its contractors should be contacted

through counsel for the United States. The United States objects to the extent that disclosure of

personal information, including home addresses, of any current or former government employee

is prohibited under the Privacy Act, 5 U.S.C.A. § 552a.

       6.      The United States objects to Abbott’s definitions of the terms "You", "Your" and

"U.S. Government" as overly broad and vague. The United States objects to the use of the terms

"agents," "representatives," "attorneys" in these definitions as vague and ambiguous. The United

States objects to these definitions to the extent that they encompass any agency, office,

employee, agent, representative, officer or contractor of either the Legislative Branch or the

Judicial Branch of the United States government and, moreover, to the extent that they are

directed at Executive Branch agencies and offices that do not have materials or information

relevant to this case or reasonably calculated to lead to the discovery of admissible evidence.

Further, the United States objects to the inclusion of the Department of Justice in these

definitions to the extent that these Requests call for the production of documents protected from

disclosure by privilege or doctrine, including the attorney-client privilege, the law enforcement

investigative file privilege, the work product doctrine, the informant’s privilege, the law

enforcement privilege, the deliberative process privilege, or any other applicable basis for

invoking privilege. Subject to and without waiving these objections, the United States will

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interpret these terms to mean offices within the Centers for Medicare and Medicaid Services that

are reasonably likely to possess responsive information or documents, and the employees of

those offices.

        7.       The United States objects to Abbott’s definition of the term “Medicaid Drug

Rebate Program,” to the extent that the definition asserts that the Public Health Service 340B

Drug Pricing Program is part of the Medicaid Drug Rebate Program.

        8.       The United States objects to Abbott’s Instruction Number 1 that the “requests are

not limited to documents in possession of the United States Department of Health and Human

Services,” but include “documents in the possession of the United States Government’s

executive, administrative, and legislative offices,” as well as “all Medicare Carriers and

Medicaid Fiscal Intermediaries.” With respect to “Medicaid Fiscal Intermediaries,” to the extent

that any state used a contractor to administer or assist in the administration of its Medicaid

program, it was pursuant to a contract or agreement between such contractor and a state agency

and not the U.S. Government. The United States adopts and incorporates by reference, its

General Objection number 15 and its objections to Abbott’s definitions of “Documents” and

“U.S. Government” in response to Instruction Number 1.

                                       Documents Requested

Category 1: General

       1.        All Documents mentioned in or referred to in preparing Your response to any set

of interrogatories or requests for admission served by Abbott in this case.

       Response:        Objection, the Request calls for the production of material protected by the

       attorney work-product doctrine and the attorney-client privilege. Subject to and without

       waiving its specific and general objections, and objections to Abbott’s definitions and

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       instructions, the United States will produce responsive, non-privileged, documents to the

       extent that it elects to produce records in lieu of answering an interrogatory pursuant to

       Fed. R. Civ. Proc. 33(d).

       2.      For the period January 1, 1980 to the end of the Relevant Claim Period,

Documents, such as current or historical organizational charts, sufficient to identify all

individuals involved in establishing the methodologies, policies, and procedures used in

determining payment of drugs under Medicare Part B.

       Response:       Objection, to the extent that this Request is overly broad, vague or seeks

       documents that are neither relevant to the claims or defenses of any party nor reasonably

       calculated to lead to the discovery of admissible evidence. Subject to and without waiving

       its specific and general objections, and objections to Abbott’s definitions and instructions,

       the United States will produce responsive, non-privileged, documents that fall within this

       category in a mutually convenient format and manner to be agreed upon by the parties.

       3.      For the period January 1, 1980 to the end of the Relevant Claim Period,

Documents, such as current or historical organizational charts, sufficient to identify all

individuals involved in establishing the methodologies, policies, and procedures used in

determining payment of drugs under Medicaid.

       Response:       Objection, to the extent that this Request is overly broad, vague, or seeks

       documents that are neither relevant to the claims or defenses of any party nor reasonably

       calculated to lead to the discovery of admissible evidence. Subject to and without waiving

       its specific and general objections, and objections to Abbott’s definitions and instructions,

       the United States will produce responsive, non-privileged, documents that fall within this

       category in a mutually convenient format and manner to be agreed upon by the parties.

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       4.      For the period January 1, 1980 to the end of the Relevant Claim Period,

Documents, such as current or historical organizational charts, sufficient to identify all

individuals involved in establishing the price at which the U.S. Government (e.g., VA,

Department of Defense) purchased drugs directly or indirectly from Manufacturers, distributors,

or wholesalers.

       Response:       Objection, to the extent that this Request is overly broad, vague, or seeks

       documents that are neither relevant to the claims or defenses of any party nor reasonably

       calculated to lead to the discovery of admissible evidence. Subject to and without waiving

       its specific and general objections, and objections to Abbott’s definitions and instructions,

       the United States will produce responsive, non-privileged, documents which relate to the

       Centers for Medicare and Medicaid Services in a mutually convenient format and manner

       to be agreed upon by the parties.

       5.      For the period January 1, 1980 to the end of the Relevant Claim Period,

Documents, such as current or historical organizational charts, sufficient to identify all

individuals involved in establishing the price at which state governments purchased drugs directly

or indirectly from Manufacturers, distributors, or wholesalers.

       Response:       Objection, to the extent that this Request is overly broad, vague, seeks

       documents that are neither relevant to the claims or defenses of any party nor reasonably

       calculated to lead to the discovery of admissible evidence, and, on it face, calls for the

       production of organization charts for “state governments,” and not within the possession,

       custody, or control of the U.S. Government. Subject to and without waiving its specific

       and general objections, and objections to Abbott’s definitions and instructions, the United

       States will produce responsive, non-privileged, documents which relate to the Centers for

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        Medicare and Medicaid Services in a mutually convenient format and manner to be agreed

        upon by the parties.

Category 2: Claims Data and Processing

        6.      For each Medicare and Medicaid transaction during the Relevant Claim Period

relating to the Subject Drugs and Equivalent Drugs, complete claims data with related field

definitions, data dictionaries, source tables, relationship tables, and business rules for all

populations for which damages are being alleged. This data is requested in electronic form used

by SQL Server, Microsoft Access, Microsoft Excel, or a delimited file that can be readily

uploaded into one of those programs. The complete claims data requested includes all fields,

other than individual patient identifiers, contained on the Provider's claim submission and all

additional fields added to process the claim, including:

        (a)     Identifier: claim number, sequence number representing each line item of the

claim, and other identifying information;

        (b)     Claim Type: physician supplier, outpatient hospital, physician crossover, etc.;

        (c)     Transaction Type: all available transaction type information, such as correction,

cancellation, etc., identifiers, and source transaction information (e.g., if one claim corrects

another claim, information about which claim is being corrected);

        (d)     Status: all status information, including the payment code indicating whether the

claim has been accepted, processed, and/or paid and the type of program the claim will be

processed under (e.g., Medicaid, Managed Care, etc.);

        (e)     Dates: all available dates, including the date service was provided, the date the

claim was received, and the date the claim was paid;

        (f)     Basis of payment: coding within the claim payment transaction which identifies

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the reference point from which the claim payment amount is determined (e.g., AWP, usual &

customary);

           (g)   Provider: all information for all relevant Providers, including Provider type (e.g.,

hospital, retail pharmacy, etc.), number, name, address, contact information, and area/field of

practice (where relevant);

           (h)   Product: all product information, including:

                 (i)    HCPCS code where applicable;

                 (ii)   NDC whenever available, including where available for non-pharmacy

claims (e.g., from memo field, supplemental provider submissions and/or HCPCS code

translations). Provide all 11 digits (do not drop leading or trailing 0's) and ideally in three

separate fields – labeler (first five digits), product (next four digits) and package size (final two

digits);

                 iii)   Name;

                 (iv)   Type (e.g., single source, multi-source);

                 (v)    Therapeutic class; and

                 (vi)   Related items like diagnosis codes, place of service, and type of service

                 (where relevant).

           (i)   Units: all units information with decimals in the correct position, including

submitted units, allowed units, and unit of measure (e.g., capsule vs. bottle, milliliter, etc.);

           (j)   Other Data for Payment: any other data used to determine the amount of the

payment not listed above (e.g., channel of procurement, etc.);

           (k)   Payments: all fields related to billed amounts, payment limit amounts, allowed

amount, and actual amounts paid along with the bases for the payment, all with decimals in the

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correct position, including:

               (i)     Drug cost (basis of payment might include EAC, FUL, MAC, Billed

Amount, Charges, Cost, AWP, WAC, etc.);

               (ii)    Dispensing fee;

               (iii)   Service administration fee (e.g., provider service fees);

               (iv)    Any other payment amount (e.g., inventory management fee/profit factor,

delivery fee, generic incentive fee, etc.); and

               (v)     Any amounts used to reduce amount paid (e.g., payments received from

other payors and the number, name, and other information associated with such payors).

       (l)     Comments: all other memo or free-form fields (e.g., Item 19 of the HCFA-1500).

       Response:       Objection, to the extent that this Request is overly broad, vague,

       burdensome, or seeks information that is neither relevant to the claims or defenses of any

       party nor reasonably calculated to lead to the discovery of admissible evidence. Subject to

       and without waiving its specific and general objections, and objections to Abbott’s

       definitions and instructions, the United States will produce documents that fall within this

       category regarding any matter not privileged and that are relevant to the claims and

       defenses in this case. The documents will be produced on a rolling basis in a mutually

       convenient format and manner to be agreed upon by the parties.

       7.      For each year and for each time within each year that a calculation was made, all

Documents concerning how each Medicare Carrier calculated the median AWP or, when

applicable, the "lowest branded AWP" for the Subject Drugs. See 42 C.F.R. 405.517(c).

       Response:       The United States has provided substantial materials which are responsive

       to this Request as part of its Rule 26(a) Initial Disclosures. Subject to and without

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       waiving its specific and general objections, and objections to Abbott’s definitions and

       instructions, the United States will produce documents that fall within this category

       regarding any matter not privileged and that are relevant to the claims and defenses in this

       case or which may lead to the discovery of admissible evidence. The documents will be

       produced on a rolling basis in a mutually convenient format and manner to be agreed upon

       by the parties.

       8.      For each year and for each time within each year that a calculation was made, all

Documents concerning how each Medicare Carrier and Medicaid Intermediary determined

payment amounts for the Subject Drugs and the Equivalent Drugs.

       Response:         Objection, to the extent that to the extent that this Request is overly broad,

       vague, or seeks documents that are neither relevant to the claims or defenses of any party

       nor reasonably calculated to lead to the discovery of admissible evidence. To the extent

       that this Request calls for the production of documents in the possession, custody or

       control of "Medicaid Fiscal Intermediaries," other state contractors, or from state

       Medicaid agencies, which are not in the possession, custody or control of the U.S.

       Government, the United States is not obligated to obtain such documents from these

       entities and produce those documents to Abbott pursuant to these Requests. Subject to

       and without waiving its specific and general objections, and objections to Abbott’s

       definitions and instructions, the United States will produce documents that fall within this

       category regarding any matter not privileged and that are relevant to the claims and

       defenses in this case or which may lead to the discovery of admissible evidence. The

       documents will be produced on a rolling basis in a mutually convenient format and

       manner to be agreed upon by the parties.

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        9.         For each Medicare and Medicaid claim You allege to have been inflated and for

which You are seeking damages or statutory penalties, all Documents concerning how You

determined the Provider's actual acquisition cost and/or the amount by which the claim was

inflated.

        Response:         Objection, to the extent that this Request seeks documents protected by the

        attorney work-product doctrine and attorney-client privilege. Objection, to the extent that

        this Request is premature because the United States will rely on documents and material

        requested from, but not yet produced by, Abbott to determine the actual acquisition costs

        for Abbott’s drugs and the amounts by which Abbott inflated the reported prices upon

        which payment amounts were based. Subject to and without waiving its specific and

        general objections, and objections to Abbott’s definitions and instructions, the United

        States has provided substantial materials which are responsive to this Request as part of its

        Rule 26(a) Initial Disclosures.

        10.        All drug fee schedules concerning the Subject Drugs and the Equivalent Drugs,

including all updates, revisions, or corrections.

        Response:         Objection, to the extent that this Request is overly broad, vague, or seeks

        documents that are neither relevant to the claims or defenses of any party nor reasonably

        calculated to lead to the discovery of admissible evidence. Subject to and without waiving

        its specific and general objections, and objections to Abbott’s definitions and instructions,

        the United States will produce Medicare Part B drug fee schedules for the subject drugs on

        a rolling basis in a mutually convenient format and manner to be agreed upon by the

        parties.

        11.        To the extent not requested above, all Documents that reflect the losses, damages,

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or alleged overpayments made by the U.S. Government as a result of Abbott's alleged conduct.

       Response:         Objection, to the extent that this Request is overly broad and vague.

       Objection, to the extent that this Request is premature because the United States will rely

       on documents and material requested from, but not yet produced by, Abbott to determine

       the actual acquisition costs for Abbott’s drugs and the amounts by which Abbott inflated

       the reported prices upon which payment amounts were based. Subject to and without

       waiving its specific and general objections, and objections to Abbott’s definitions and

       instructions, the United States will produce documents that fall within this category

       regarding any matter not privileged and that are relevant to the claims and defenses in this

       case or which may lead to the discovery of admissible evidence. The documents will be

       produced on a rolling basis in a mutually convenient format and manner to be agreed upon

       by the parties.

       12.     From January 1, 1965 to the end of the Relevant Claim Period, all Documents

relating to any Communications between the U.S. Government and Medicare Carriers, State

Medicaid Programs, Medicaid Intermediaries, NAMFCU, MFCUs, the National Association of

State Medicaid Directors, or the National Governors Association concerning the methodologies,

policies, and procedures to be used in determining payment for drugs under Medicare Part B or

Medicaid, including but not limited to Medicare Part B Newsletters, Program Memoranda,

National Coverage Decisions, Local Medical Review Policies, Bulletins, meetings, seminars,

circulars, governmental reports, or any transmission of data.

       Response:         Objection, to the extent that this Request is overly broad and vague.

       Objection, to the extent this Request relates to communications from the United States to

       the National Association of Medicaid Fraud Control Units (NAMFCU) and state Medicaid

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       Fraud Control Units (MFCUs), the Request seeks material that is neither relevant nor

       reasonably calculated to lead to the discovery of admissible evidence. Objection, to the

       extent that requested material is protected by the attorney work-product doctrine, the joint

       prosecution/common interest doctrine and the law enforcement investigative files

       privilege. With respect to communications with offices, agencies, or entities other than

       the NAMFCU and the MFCUs, subject to and without waiving its specific and general

       objections, and objections to Abbott’s definitions and instructions, the United States has

       provided substantial materials which are responsive to this Request as part of its Rule

       26(a) Initial Disclosures. Subject to and without waiving its specific and general

       objections, and objections to Abbott’s definitions and instructions, the United States may

       produce additional documents that fall within this category regarding any matter not

       privileged and that are relevant to the claims and defenses in this case or which may lead

       to the discovery of admissible evidence. The documents will be produced on a rolling

       basis in a mutually convenient format and manner to be agreed upon by the parties.

       13.    All State Medicaid Program plans, under 42 U.S.C. § 1396(a), and other

documents concerning how Medicaid Intermediaries or State Medicaid Programs calculated or

determined payment amounts for the Subject Drugs or the Equivalent Drugs, including all policy

and procedure manuals, proposals, drafts, and working papers.

       Response:      Objection, to the extent this Request seeks “proposals, drafts, and working

       papers,” it is overly broad, vague, or seeks documents that are neither relevant to the

       claims or defenses of any party nor reasonably calculated to lead to the discovery of

       admissible evidence. To the extent that this Request calls for the production of documents

       in the possession, custody or control of "Medicaid Fiscal Intermediaries," other state

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       contractors, or from state Medicaid agencies, which are not in the possession, custody or

       control of the U.S. Government, the United States is not obligated to obtain such

       documents from these entities and produce those documents to Abbott pursuant to these

       Requests. Subject to and without waiving its specific and general objections, and

       objections to Abbott’s definitions and instructions, the United States will produce

       documents that fall within this category regarding any matter not privileged and that are

       relevant to the claims and defenses in this case or which are reasonably calculated to lead

       to the discovery of admissible evidence. The documents will be produced on a rolling

       basis in a mutually convenient format and manner to be agreed upon by the parties.

       14.     To the extent not requested above, all Documents concerning the methodologies,

policies, and procedures to be used in determining payment for drugs under Medicare Part B or

Medicaid. Such documents should include the source (e.g., Red Book, Blue Book, Medispan) of

AWP, WAC, or other figure if reimbursement was based on such figures.

       Response:         Objection, to the extent that this Request is overly broad and vague.

       Subject to the specific and general objections, and objections to Abbott’s definitions and

       instructions, the United States has provided substantial materials which are responsive to

       this Request as part of its Rule 26(a) Initial Disclosures. Subject to and without waiving

       its specific and general objections, and objections to Abbott’s definitions and instructions,

       the United States may produce additional documents that fall within this category

       regarding any matter not privileged and that are relevant to the claims and defenses in this

       case or which may lead to the discovery of admissible evidence. The documents will be

       produced on a rolling basis in a mutually convenient format and manner to be agreed upon

       by the parties.

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       15.    All Documents concerning how State Medicaid Programs paid 340B Providers for

supplying or administering drugs to Medicaid beneficiaries.

       Response:      Objection, to the extent that this Request seeks documents that are neither

       relevant to the claims or defenses of any party nor reasonably calculated to lead to the

       discovery of admissible evidence. Subject to and without waiving its specific and general

       objections, and objections to Abbott’s definitions and instructions, the United States will

       produce documents that fall within this category regarding any matter not privileged and

       that are relevant to the claims and defenses in this case or which may lead to the discovery

       of admissible evidence. The documents will be produced on a rolling basis in a mutually

       convenient format and manner to be agreed upon by the parties.

       16.    For each quarter during the Relevant Claim Period, Documents sufficient to

identify the Federal Medical Assistance Percentage ("FMAP") applicable to each State Medicaid

Program.

       Response:      Subject to and without waiving its specific and general objections, and

       objections to Abbott’s definitions and instructions, the United States has provided

       substantial materials which are responsive to this Request as part of its Rule 26(a) Initial

       Disclosures. Subject to and without waiving its specific and general objections, and

       objections to Abbott’s definitions and instructions, the United States may produce

       additional documents that fall within this category regarding any matter not privileged and

       that are relevant to the claims and defenses in this case or which may lead to the discovery

       of admissible evidence. The documents will be produced on a rolling basis in a mutually

       convenient format and manner to be agreed upon by the parties.

       17.    For each quarter during the Relevant Claim Period, Documents sufficient to show

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how Medicare Carriers or Medicaid Intermediaries calculated any FUL applicable for the Subject

Drugs or the Equivalent Drugs.

       Response:      Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, or seeks documents that are neither relevant to the claims or defenses of any

       party nor reasonably calculated to lead to the discovery of admissible evidence.

       Objection, to the extent that the Request seeks documents that are protected by the

       deliberative process privilege. Objection, to the extent that the Request asserts that a FUL

       has application within the Medicare program. To the extent that this Request calls for the

       production of documents in the possession, custody or control of "Medicaid Fiscal

       Intermediaries," other state contractors, or from state Medicaid agencies, which are not in

       the possession, custody or control of the U.S. Government, the United States is not

       obligated to obtain such documents from these entities and produce those documents to

       Abbott pursuant to these Requests. Subject to and without waiving its specific and

       general objections, and objections to Abbott’s definitions and instructions, the United

       States may produce documents relating to Abbott’s drugs regarding any matter not

       privileged and that are relevant to the claims and defenses in this case or which may lead

       to the discovery of admissible evidence. The documents will be produced on a rolling

       basis in a mutually convenient format and manner to be agreed upon by the parties.

       18.     From January 1, 1965 to the end of the Relevant Claim Period, all Documents

concerning any audit, report, study, analysis, or survey (whether completed or not) concerning the

differences in the amounts that Medicare Carriers or Medicaid Intermediaries paid for the Subject

Drugs or Equivalent Drugs under Medicare Part B or Medicaid, including but not limited to all

Documents concerning differences in how Medicare Carriers or Medicaid Intermediaries

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calculated the median AWP or "lowest branded AWP." See 42 C.F.R. 405.517(c).

        Response:         Objection, to the extent that this Request is overly broad, vague, and

        unduly burdensome. Objection, to the extent that this Request seeks information

        protected from disclosure by the deliberative process privilege. Subject to and without

        waiving its specific and general objections, and objections to Abbott’s definitions and

        instructions, the United States will produce documents that fall within this category

        regarding any matter not privileged and that are relevant to the claims and defenses in this

        case or which may lead to the discovery of admissible evidence. The documents will be

        produced on a rolling basis in a mutually convenient format and manner to be agreed upon

        by the parties.

Category 3: Government Drug Payment Analyses and Contracts

        19.     From January 1, 1965 to the end of the Relevant Claim Period, all

Communications involving any Person working for or on behalf of the U.S. Government, any

state government or State Medicaid Program, MedPac, NAMFCU or any MFCU, any Provider,

any Publisher, or any Manufacturer concerning (i) the methodologies, policies, and procedures to

be used in determining payment for drugs under Medicare Part B or Medicaid, (ii) drug pricing,

or (iii) the acquisition costs of Providers for drugs.

        Response:         Objection, to the extent that this Request is overly broad, vague, and

        unduly burdensome. Objection, to the extent that portions of the Request are

        unnecessarily cumulative and duplicative of the Requests appearing under Abbott’s

        caption “Category 2: Claims Data and Processing.” Subpart iii of the Request seeks

        documents that are neither relevant to the claims or defenses of any party nor reasonably

        calculated to lead to the discovery of admissible evidence.

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       20.     From January 1, 1965 to the end of the Relevant Claim Period, all Documents

relating to any report, memorandum, audit, study, analysis, or survey (whether completed or not)

concerning (i) the methodologies, policies, and procedures to be used in determining

reimbursement for drugs under Medicare Part B or Medicaid, (ii) drug pricing, or (iii) the

acquisition costs of Providers for drugs, including but not limited to the reports included on the

attached Schedule A.

       Response:       Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, or seeks documents that are neither relevant to the claims or defenses of any

       party nor reasonably calculated to lead to the discovery of admissible evidence. Subject to

       and without waiving its specific and general objections, and objections to Abbott’s

       definitions and instructions, the United States reserves the right to further respond to this

       request and may supplement the response based upon consultation with counsel for

       Abbott.

       21.     Documents, such as distribution lists, sufficient to show every Person who was

sent or received any of the reports identified in response to Request No. 20, including but not

limited to those listed on Schedule A.

       Response:       Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, or seeks documents that are neither relevant to the claims or defenses of any

       party nor reasonably calculated to lead to the discovery of admissible evidence.

       22.     From January 1, 1965 to the end of the Relevant Claim Period, all Documents that

mention, refer to, or discuss the relationship between AWP, WAC, List Price, Direct Price or any

other figure and (i) the actual or average acquisition cost of Providers and/or (ii) the amount paid

by Medicare Part B or Medicaid.

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        Response:       Objection, to the extent that this Request is overly broad, vague, unduly

        burdensome, or seeks documents that are neither relevant to the claims or defenses of any

        party nor reasonably calculated to lead to the discovery of admissible evidence.

        Objection, to the extent that the Request seeks documents that are protected by the

        deliberative process and attorney-client privileges. Subject to and without waiving its

        specific and general objections, and objections to Abbott’s definitions and instructions, the

        United States reserves the right to further respond to this request and may supplement the

        response based upon consultation with counsel for Abbott.

        23.     All Documents identified in Attachment B to Joan M. Hollenbach's February 20,

2004 letter to Joshua T. Buchman, Esq. (copy attached at Tab 1).

        Response:       Objection, to the extent that this Request seeks documents that are

        protected by the deliberative process privilege. Objection, to the extent that the Request

        seeks documents that may be in the possession, custody or control of the General

        Accounting Office, not the Centers for Medicare and Medicaid Services. Objection, the

        extent that the Request seeks documents that are neither relevant to the claims or defenses

        of any party nor reasonably calculated to lead to the discovery of admissible evidence.

        24.     All Documents concerning the revised AWP data referred to in Program

Memorandum AB-00-86, An Additional Source of Average Wholesale Price Data in Pricing

Drugs and Biologicals Covered by the Medicare Program, including all drafts, working papers,

transmittal letters, notes, edits, and supporting data.

        Response:       Objection, to the extent that this Request is overly broad, vague, unduly

        burdensome, or seeks documents protected by the deliberative process privilege.

        Objection, to the extent that the Request seeks documents that are neither relevant to the

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       claims or defenses of any party nor reasonably calculated to lead to the discovery of

       admissible evidence.

       25.     From any time period, all Documents from the files of the following individuals

concerning drug pricing, drug reimbursement under Medicare or Medicaid, or the actual or

average acquisition costs of Providers:

       (a)     Dr. Bruce Vladeck (CMS);

       (b)     Dr. Donna E. Shalala (CMS);

       (c)     Thomas A. Scully (CMS);

       (d)     Robert Neiman (CMS/HCFA);

       (e)     Gail Wilensky (CMS/HCFA);

       (f)     Kathleen Buto (CMS/HCFA);

       (g)     Bernie Patashnek (CMS/HCFA);

       (h)     Stanley Weintraub (CMS/HCFA);

       (i)     Tom Ault (CMS/HCFA);

       (j)     Charles Booth (CMS/HCFA);

       (k)     Ira Burney (CMS/HCFA);

       (l)     Mike Hash (CMS/HCFA);

       (m)     Richard Kucerow (HHS-OIG);

       (n)     Dr. Barton McCann (HHS-OIG);

       (o)     June Gibbs Brown (HHS-OIG);

       (p)     Dr. Jack Hoadley (HHS/HCFA);

       (q)     Mark B. McClellan (CMS);

       ®)      Peter Rodler (CMS/HCFA);

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       (s)     Robert Helms (HHS);

       (t)     Don Hearn (CMS/HCFA);

       (u)     J.D. Sconce (CMS/HCFA);

       (v)     Nancy Saltzman (CMS/HCFA);

       (w)     Lawrence L. McDonough (CMS/HCFA);

       (x)     Loius B. Hays (CMS/HCFA);

       (y)     Carol Walton (CMS/HCFA);

       (z)     Frank J. Camozzi (CMS/HCFA);

       (aa)    Dr. Grant E. Steffen (CMS/HCFA);

       (bb)    Grace Witles (CMS/HCFA); and

       (cc)    Nancy-Ann Min DePerle (HHS).

       Response:      Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, or seeks documents protected by the deliberative process privilege.

       Objection, to the extent that the Request seeks documents that are neither relevant to the

       claims or defenses of any party nor reasonably calculated to lead to the discovery of

       admissible evidence. Subject to and without waiving its specific and general objections,

       and objections to Abbott’s definitions and instructions, the United States reserves the right

       to further respond to this request and may supplement the response based upon

       consultation with counsel for Abbott.

       26.     All Documents concerning or referring to December 13, 1997 remarks by

President William Jefferson Clinton regarding the systematic overpayment for prescription drugs,

including but not limited to all Documents relied upon or referenced in Mr. Clinton's remarks.

See White House Office of Press Secretary, Remarks by the President in Radio Address to the

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Nation (Dec. 13, 1997).

Response:      Objection, to the extent that this Request is overly broad, vague, unduly

burdensome, or seeks documents that are neither relevant to the claims or defenses of any party

nor reasonably calculated to lead to the discovery of admissible evidence. Objection, to the

extent that the Request seeks documents protected by the attorney-client and deliberative process

privileges.

       27.     To the extent not requested above, from January 1, 1965 to the end of the Relevant

Claim Period, all Documents concerning the meaning and calculation of AWP, WAC, EAC, List

Price or Direct Price and/or the decision of whether to use AWP, WAC, EAC, List Price or Direct

Price in calculating payment under Medicare Part B or Medicaid.

       Response:      Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, duplicative and cumulative of other Requests, or seeks documents that are

       neither relevant to the claims or defenses of any party nor reasonably calculated to lead to

       the discovery of admissible evidence. Objection, to the extent that the Request seeks

       documents protected by the deliberative process privilege. Objection, to the extent that

       any non-privileged, responsive documents are publicly available and thus equally

       accessible to both parties. Subject to and without waiving its specific and general

       objections, and objections to Abbott’s definitions and instructions, the United States

       reserves the right to further respond to this request and may supplement the response

       based upon consultation with counsel for Abbott.

       28.     All Documents concerning the meaning of AMP; the calculation of AMP; the

relationship of AMP to AWP, WAC, EAC, List Price or Direct Price; and/or the decision of

whether to use AMP in calculating reimbursement under Medicare Part B or Medicaid.

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       Response:        Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, or seeks documents that are neither relevant to the claims or defenses of any

       party nor reasonably calculated to lead to the discovery of admissible evidence.

       Objection, to the extent that the Request seeks documents protected by the deliberative

       process privilege. Subject to and without waiving its specific and general objections, and

       objections to Abbott’s definitions and instructions, the United States reserves the right to

       further respond to the extent that this Request and may supplement the response based

       upon consultation with counsel for Abbott.

       29.       To the extent not requested above, from January 1, 1965 to the end of the Relevant

Claim Period, all Documents concerning why Medicare Part B and Medicaid did not use

Providers' actual acquisition cost in calculating payment under Medicare Part B and/or Medicaid.

       Response:        Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, or seeks documents that are neither relevant to the claims or defenses of any

       party nor reasonably calculated to lead to the discovery of admissible evidence. Objection,

       to the extent that the Request seeks information or documents which are protected by the

       deliberative process privilege. Objection, to the extent any non-privileged responsive

       documents are publicly available and thus equally accessible to both parties.

       30.       From January 1, 1965 to the end of the Relevant Claim Period, all

Communications between HCFA/CMS, HHS, or HHS-OIG and VA, CHAMPUS/Tricare

Department of Defense, or any 340B Provider concerning the payment, purchase price, or

expenditure of VA, CHAMPUS/Tricare, Department of Defense, or any 340B Provider for the

Subject Drugs.

       Response:        Objection, to the extent that this Request is overly broad, vague, unduly

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       burdensome, or seeks documents that are neither relevant to the claims or defenses of any

       party nor reasonably calculated to lead to the discovery of admissible evidence.

       31.    To the extent not requested above, copies of all Federal Supply Schedules listing

the Subject Drugs.

       Response:      Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, or seeks documents that are neither relevant to the claims or defenses of any

       party nor reasonably calculated to lead to the discovery of admissible evidence. Subject to

       and without waiving its specific and general objections, and objections to Abbott’s

       definitions and instructions, the United States reserves the right to further respond to this

       request and may supplement the response based upon consultation with counsel for

       Abbott.

       32.    To the extent not requested above, all pricing data received or calculated by the

U.S. Government or its agents concerning AMP, Best Price, Medicaid Unit Rebate Amount,

Non-Federal Average Manufacturers Price, Federal Ceiling Price, Medicare Average Selling

Price, or Average Selling Price Provided Under a Corporate Integrity Agreement.

       Response:      Objection, to the extent that this Request seeks confidential proprietary

       information concerning other pharmaceutical manufacturers. Objection, to the extent that

       the Request is overly broad, vague, unduly burdensome, or seeks documents that are

       neither relevant to the claims or defenses of any party nor reasonably calculated to lead to

       the discovery of admissible evidence.

       33.    From January 1, 1965 to the end of the Relevant Claim Period, all Documents

relating to any report, memorandum, audit, study, analysis, or survey (whether completed or not)

concerning the adequacy of reimbursement of professional services associated with the

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dispensing or administration of drugs under Medicare Part B or Medicaid.

       Response:      Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, or seeks documents that are neither relevant to the claims or defenses of any

       party nor reasonably calculated to lead to the discovery of admissible evidence.

       Objection, to the extent that the Request seeks documents protected by the deliberative

       process privilege.

       34.     From January 1, 1965 to the end of the Relevant Claim Period, all Documents

concerning whether the payment formula for the drug ingredient cost could serve as a means of

subsidizing, or as a means of offsetting perceived or asserted under-reimbursement for,

professional services associated with the dispensing or administration of drugs under Medicare

Part B or Medicaid, or as a mechanism to encourage treatment outside of the hospital setting.

       Response:      Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, or seeks documents that are neither relevant to the claims or defenses of any

       party nor reasonably calculated to lead to the discovery of admissible evidence.

       Objection, to the extent that the Request seeks documents protected by the deliberative

       process privilege.

       35.     All Documents concerning any increase in Medicare Part B reimbursement for

professional services associated with the dispensing or administration of drugs, including but not

limited to Documents relating to the increase in the administration fee associated with the

Medicare Modernization Act.

       Response:      Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, or seeks documents that are neither relevant to the claims or defenses of any

       party nor reasonably calculated to lead to the discovery of admissible evidence.

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       Objection, to the extent that the Request seeks documents protected by the deliberative

       process privilege.

       36.     From January 1, 1965 to the end of the Relevant Claim Period, all Documents

concerning whether the payment formula for the drug ingredient cost could serve as a means of

ensuring equal access to care for Medicaid beneficiaries under 42 U.S.C. § 1396a(a)(30).

       Response:       Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, or seeks documents that are neither relevant to the claims or defenses of any

       party nor reasonably calculated to lead to the discovery of admissible evidence.

       Objection, to the extent that the Request seeks documents protected by the deliberative

       process privilege.

Category 4: HHS Regulations and Prior Determinations

       37.     From January 1, 1965 to the end of the Relevant Claim Period, all Documents

concerning the promulgation of any contemplated, proposed, or actual federal legislation,

regulation, or policy concerning payment for drugs under Medicare or Medicaid, including any

comments, suggestions, criticisms, surveys, studies, or data related to such legislation, regulation,

or policy, including but not limited to those listed on the attached Schedule B.

       Response:       Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, or seeks information or documents which are publicly available and thus

       equally accessible to both parties. Objection, to the extent the Request seeks documents

       that are neither relevant to the claims or defenses of any party nor reasonably calculated to

       lead to the discovery of admissible evidence. Objection, to the extent that the Request

       seeks documents protected by the deliberative process and attorney-client privileges.

        38.    All Documents relating to actions taken or considered by You to change the

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methodology to pay for drugs under Medicare Part B or Medicaid after becoming aware that

AWP exceeded the average acquisition costs of Providers for drugs, including the Subject Drugs.

       Response:      Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome or seeks information or documents which are publicly available and thus

       equally accessible to both parties. Objection, to the extent that the Request seeks

       documents that are neither relevant to the claims or defenses of any party nor reasonably

       calculated to lead to the discovery of admissible evidence. Objection, to the extent that

       the Request seeks documents protected by the attorney work-product doctrine and the

       deliberative process and attorney-client privileges.

       39.    From January 1, 1965 to the end of the Relevant Claim Period, all Documents

concerning the purpose, motive, or policy behind establishing the FUL program.

       Response:      Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome or seeks information or documents which are publicly available and thus

       equally accessible to both parties. Objection, to the extent that the Request seeks

       documents that are neither relevant to the claims or defenses of any party nor reasonably

       calculated to lead to the discovery of admissible evidence. Objection, to the extent that

       the Request seeks documents protected by the deliberative process and attorney-client

       privileges.

       40.    All Documents or Communications concerning why no FUL was calculated for

one or more of the Subject Drugs.

       Response:      Objection, to the extent that this Request is unduly vague. Objection, to

       the extent that the Request seeks documents that are neither relevant to the claims or

       defenses of any party nor reasonably calculated to lead to the discovery of admissible

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      evidence. Objection, to the extent that the Request seeks documents protected by the

      deliberative process and attorney-client privileges. Subject to and without waiving its

      specific and general objections, and objections to Abbott’s definitions and instructions, the

      United States will produce documents that fall within this category regarding any matter

      not privileged and that are relevant to the claims and defenses in this case or which may

      lead to the discovery of admissible evidence. The documents will be produced on a

      rolling basis in a mutually convenient format and manner to be agreed upon by the parties.

      41.    All Documents concerning the purpose, motive, or policy behind establishing the

MAC program. See Program Memorandum AB-02-174 (Dec. 3, 2002).

      Response:      Objection, to the extent that this Request is overly broad, vague, unduly

      burdensome, vague, or seeks information or documents which are publicly available and

      thus equally accessible to both parties. Objection, to the extent that the Request seeks

      documents that are neither relevant to the claims or defenses of any party nor reasonably

      calculated to lead to the discovery of admissible evidence. Objection, to the extent the

      Request seeks documents protected by the deliberative process and attorney-client

      privileges.

      42.    All Documents concerning the purpose, motive, or policy behind establishing the

Single Drug Pricer methodology. See Program Memorandum AB-02-174 (Dec. 3, 2002).

      Response:      Objection, to the extent that this Request is overly broad, vague, unduly

      burdensome or seeks information or documents which are publicly available and thus

      equally accessible to both parties. Objection, to the extent that the Request seeks

      documents that are neither relevant to the claims or defenses of any party nor reasonably

      calculated to lead to the discovery of admissible evidence. Objection, to the extent that the

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       Request seeks documents protected by the deliberative process and attorney-client

       privileges.

       43.     All Documents concerning the Louisiana HHS Medicaid Determination and

Appeal, including but not limited to:

       (a)     a full and complete copy of the administrative record;

       (b)     a full and complete copy of the record on appeal, including all documents sent to

HHS by the Fifth Circuit on or about August 24, 1990;

       (c)     all briefs, exhibits, appendices, and transcripts of oral argument;

       (d)     all Documents specifically referenced in the brief filed by HHS filed on January

12, 1990 (attached at Tab 2) ("HHS Brief");

       (e)     all Documents concerning the Task Force appointed to review prescription drug

reimbursement (as referenced on page 11 of the HHS Brief);

       (f)     all Documents concerning HCFA's exploration of alternative data sources for use

in determining acquisition costs (as referenced on page 11 of the HHS Brief);

       (g)     all Documents concerning HCFA's advice to states of the problems with AWP and

suggestions for alternatives following the issuance of the June 1984 OIG Report (as referenced on

page 11 of the HHS Brief);

       (h)     all Documents sufficient to show or concerning to whom HCFA sent copies of the

June 1984 OIG Audit Report in September 1984, including all of the state Medicaid agencies to

which the report was sent (as referenced on page 11 of the HHS Brief);

       (i)     all Documents concerning reviews conducted by HCFA regional offices, including

the HCFA regional office for Region VI (comprising Arkansas, Louisiana, New Mexico,

Oklahoma, and Texas), regarding pharmacy purchase prices (as referenced on page 12 of the

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HHS Brief);

       (j)     all Documents concerning region-level work groups convened by HCFA regional

offices (including the HCFA regional office for Region VI) in or about November 1984 and

January 1995 to examine the use of AWP and to develop alternative methods that could be used

in arriving at more accurate estimates (as referenced on page 12 of the HHS Brief);

       (k)     all Documents concerning, including notes and documents sufficient to show the

participants in, the September 4, 1985 conference call held between senior HCFA central office

officials and the ten HCFA regional office administrators estimates (as referenced on page 12 of

the HHS Brief); and

       (l)     all data, mathematical and statistical computations, comparisons, and other

pertinent records submitted by states to HCFA in support of the establishment of an EAC as

required by federal regulations estimates (as referenced on page 31 of the HHS Brief).

       Response:      Objection, to the extent that this Request seeks documents that are neither

       relevant to the claims or defenses of any party nor reasonably calculated to lead to the

       discovery of admissible evidence. Objection, to the extent that the Request seeks

       documents protected by the attorney work-product doctrine and the deliberative process

       and attorney-client privileges. Subject to and without waiving its specific and general

       objections, and objections to Abbott’s definitions and instructions, the United States

       reserves the right to further respond to this request and may supplement the response

       based upon consultation with counsel for Abbott.

44.    All Documents concerning the Arkansas HHS Medicaid Determination, including but not

limited to:

       (a)     a full and complete copy of the administrative record;

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       (b)     a full and complete copy of the record on appeal;

       (c)     all briefs, exhibits, appendices, and transcripts of oral argument;

       (d)     all Documents specifically referenced (as Exhibits) in the HHS Department

Appeal Board's August 22, 1991 decision (Decision No. 1273) (attached at Tab 3) and April 29,

1992 decision (Decision No. 1329) (attached at Tab 4);

       (e)     all Documents concerning the audit conducted in 1983 by the HHS Office of the

Inspector General in six states finding that pharmacists' drug costs averaged approximately 16%

below AWP (as referenced in Decision No. 1273);

       (f)     all Documents concerning HCFA's September 20, 1998 notice that it disapproved

of State Plan Transmittal No. 88-05 (as referenced in Decision No. 1273); and

       (g)     all Documents concerning the survey conducted by Myers and Stauffer for the

state of Arkansas (as referenced in Decision No. 1273).

       Response:      Objection, to the extent that this Request seeks documents that are neither

       relevant to the claims or defenses of any party nor reasonably calculated to lead to the

       discovery of admissible evidence. Objection, to the extent that the Request seeks

       documents protected by the attorney work-product doctrine and the deliberative process

       and attorney-client privileges. Subject to and without waiving its specific and general

       objections, and objections to Abbott’s definitions and instructions, the United States

       reserves the right to further respond to this request and may supplement the response

       based upon consultation with counsel for Abbott.

       45.     All Documents concerning the Oklahoma HHS Medicaid Determination, including

but not limited to:

       (a)     a full and complete copy of the administrative record;

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       (b)        a full and complete copy of the record on appeal;

       (c)        all briefs, exhibits, appendices, and transcripts of oral argument;

       (d)        all Documents specifically referenced (as Exhibits) in the HHS Department

Appeals Board's August 13, 1991 decision (Decision No. 1271) (attached at Tab 5);

       (e)        all Documents concerning the federal audit conducted in six states finding that

pharmacists' drug costs averaged approximately 16% below AWP (as referenced in Decision No.

1271); and

       (f)        all Documents concerning the subsequent HCFA review of pharmacists' drug costs

in Oklahoma in 1984 (as referenced in Decision No. 1271).

       Response:         Objection, to the extent that this Request seeks documents that are neither

       relevant to the claims or defenses of any party nor reasonably calculated to lead to the

       discovery of admissible evidence. Objection, to the extent that the Request seeks

       documents protected by the attorney work-product doctrine and the deliberative process

       and attorney-client privileges. Subject to and without waiving its specific and general

       objections, and objections to Abbott’s definitions and instructions, the United States

       reserves the right to further respond to this Request and may supplement the response

       based upon consultation with counsel for Abbott.

       46.        All Documents concerning the Texas HHS Medicaid Determination, including but

not limited to:

       (a)        a full and complete copy of the administrative record;

       (b)        a full and complete copy of the record on appeal; and

       (c)        all briefs, exhibits, appendices, and transcripts of oral argument.

       Response:         Objection, to the extent that this Request is vague or seeks documents that

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       are neither relevant to the claims or defenses of any party nor reasonably calculated to

       lead to the discovery of admissible evidence. Objection, to the extent that the Request

       seeks documents protected by the attorney work-product doctrine and the deliberative

       process and attorney-client privileges. Subject to and without waiving its specific and

       general objections, and objections to Abbott’s definitions and instructions, the United

       States reserves the right to further respond to this request and may supplement the

       response based upon consultation with counsel for Abbott.

       47.    To the extent not requested above, all Documents concerning any administrative or

judicial proceeding involving actual or threatened action by CMS/HCFA to disapprove a State

Medicaid plan or plan amendment, or disallow federal financial participation, due to provisions

regarding drug payment.

       Response:      Objection, to the extent that this Request is overly broad, vague, or seeks

       documents that are neither relevant to the claims or defenses of any party nor reasonably

       calculated to lead to the discovery of admissible evidence. Objection, to the extent that

       the Request seeks documents protected by the attorney work-product doctrine and the

       deliberative process and attorney-client privileges.

       48.    All Documents concerning any decision to approve or disapprove a State Medicaid

plan using a managed care program to control the cost of Medicaid payments for drugs.

       Response:      Objection, to the extent that this Request seeks documents that are neither

       relevant to the claims or defenses of any party nor reasonably calculated to lead to the

       discovery of admissible evidence. Objection, to the extent that the Request seeks

       documents protected by the attorney work-product doctrine, and the deliberative process

       and attorney-client privileges.

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       49.     To the extent not requested above, all Documents concerning any administrative or

judicial proceeding regarding the use of AWP or WAC in a methodology for drug payment under

Medicare B or Medicaid.

       Response:       Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, or seeks documents that are neither relevant to the claims or defenses of any

       party nor reasonably calculated to lead to the discovery of admissible evidence.

       Objection, to the extent that the Request seeks documents protected by the attorney work-

       product doctrine and the deliberative process and attorney-client privileges. Subject to

       and without waiving its specific and general objections, and objections to Abbott’s

       definitions and instructions, the United States reserves the right to further respond to this

       request and may supplement the response based upon consultation with counsel for

       Abbott.

       50.     All Documents relating to a town hall-style meeting held in Bucks County,

Pennsylvania in September 2002 involving Representative James C. Greenwood (R-PA) and

CMS Administrator Thomas A. Sculley at which the topic of drug payment under Medicare was

discussed, including but not limited to any recordings, attendance lists, agendas, notes, or data.

       Response:       Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, or seeks documents that are neither relevant to the claims or defenses of any

       party nor reasonably calculated to lead to the discovery of admissible evidence.

       Objection, to the extent that the Request seeks documents protected by the deliberative

       process privilege. Subject to and without waiving its specific and general objections, and

       objections to Abbott’s definitions and instructions, the United States reserves the right to

       further respond to this request and may supplement the response based upon consultation

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       with counsel for Abbott.

Category 5: Medicaid Drug Rebate Program

       51.    All Documents concerning the purpose, motive, or policy behind establishing the

Medicaid Drug Rebate Program.

       Response:      The Medicaid Drug Rebate Program (“Program”) was created pursuant to a

       federal statute, 42 U.S.C. § 1396r-8. Accordingly, Congress’ purpose, motive, or policy

       behind establishing the Program can be determined by reference to the publicly available

       legislative history. Objection, to the extent that this Request is unduly burdensome and

       seeks information or documents which are publicly available and thus equally accessible

       to both parties. Objection, to the extent that the Request seeks documents that are neither

       relevant to the claims or defenses of any party nor reasonably calculated to lead to the

       discovery of admissible evidence.

       52.    For the Subject Drugs and Equivalent Drugs, all Communications concerning the

reporting of AMP in connection with the Medicaid Drug Rebate Program between and among

Manufacturers, the U.S. Government, any State Medicaid Program, or any Medicare Carrier or

Medicaid Intermediary, as well as Documents sufficient to identify which Persons within the U.S.

Government received AMP information for the Subject Drugs and Equivalent Drugs.

       Response:      Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, or seeks documents that are neither relevant to the claims or defenses of any

       party nor reasonably calculated to lead to the discovery of admissible evidence. To the

       extent that this Request calls for the production of documents in the possession, custody or

       control of "Medicaid Fiscal Intermediaries," other state contractors, or from state

       Medicaid agencies, which are not in the possession, custody or control of the U.S.

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       Government, the United States is not obligated to obtain such documents from these

       entities and produce those documents to Abbott pursuant to these Requests. Subject to

       and without waiving its specific and general objections, and objections to Abbott’s

       definitions and instructions, the United States will produce non-privileged, responsive

       documents that relate to prices reported by Abbott in connection with the Medicaid Drug

       Rebate Program for the Subject Drugs. The documents will be produced on a rolling basis

       in a mutually convenient format and manner to be agreed upon by the parties.

       53.    Documents sufficient to identify the amounts received each year by each state

under the Medicaid Drug Rebate Program for the Subject Drugs and Equivalent Drugs.

       Response:      Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, or seeks documents that are neither relevant to the claims or defenses of any

       party nor reasonably calculated to lead to the discovery of admissible evidence. Subject to

       and without waiving its specific and general objections, and objections to Abbott’s

       definitions and instructions, the United States will produce additional documents that fall

       within this category relating to Abbott’s drugs that are not privileged and that are relevant

       to the claims and defenses in this case or which may lead to the discovery of admissible

       evidence. The documents will be produced on a rolling basis in a mutually convenient

       format and manner to be agreed upon by the parties

       54.    Documents sufficient to identify all Persons who had access to or actual

knowledge of the AMPs for the Subject Drugs.

       Response:      Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, or seeks documents that are neither relevant to the claims or defenses of any

       party nor reasonably calculated to lead to the discovery of admissible evidence.

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       55.    All Documents that reflect any supplemental or additional rebates (i.e., a rebate

other than provided for under the Medicaid Drug Rebate Program) requested or received from

any Manufacturer, including any legislative or regulatory proposal regarding supplemental or

additional rebates from any Manufacturer.

       Response:      Objection, to the extent that this Request seeks documents that are neither

       relevant to the claims or defenses of any party nor reasonably calculated to lead to the

       discovery of admissible evidence. Objection, to the extent that the Request seeks

       documents that are not in the possession, custody, or control of the Center for Medicare

       and Medicaid Services. Subject to and without waiving its specific and general

       objections, and objections to Abbott’s definitions and instructions, the United States

       reserves the right to further respond to this request and may supplement the response

       based upon consultation with counsel for Abbott.

Category 6: Relator/Ven-A-Care

       56.    The disclosure statement filed by Ven-A-Care pursuant to 31 U.S.C. § 3730(b)(2),

as well as Documents sufficient to identify which Persons within the U.S. Government, any State

Medicaid Program, NAMFCU, any MFCU, any Medicare Carrier, and/or any Medicaid

Intermediary received either that document or the Ven-A-Care Complaint, and when and under

what circumstances such Persons received those documents.

       Response:      Objection, to the extent that this Request seeks a document which is

       protected by the law enforcement investigative file privilege, as well as the False Claims

       Act, which provides that a relator’s statement of material evidence is not a public

       document and is provided to the Government under seal to assist its investigation.

       Moreover, it is protected by privileges that may be asserted by relator, and accordingly, to

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       the extent that the United States possesses the document, it is protected by the joint

       prosecution/common interest doctrine. Objection, to the extent that the Request seeks

       documents that are neither relevant to the claims or defenses of any party nor reasonably

       calculated to lead to the discovery of admissible evidence. Also, the United States objects

       to this Request to the extent that it states that disclosure statements are “filed.” The

       statements are not filed in any court, rather, they are served on the Attorney General

       pursuant to 31 U.S.C. § 3730(b)(2).

       57.     From any time period, all disclosure statements filed by Ven-A-Care in any state

or federal qui tam action.

       Response:       Objection, to the extent that this Request seeks documents that relate to

       matters, if any exist, under seal and which are protected by the law enforcement

       investigative files privilege, as well as the False Claims Act, which provides that a

       relator’s statement of material evidence is not a public document and is provided to the

       Government under seal to assist its investigation. Moreover, it is protected by privileges

       that may be asserted by relator, and accordingly, to the extent that the United States

       possesses such documents, they are protected by the joint prosecution/common interest

       doctrine. Objection, to the extent that the Request seeks documents that are neither

       relevant to the claims or defenses of any party nor reasonably calculated to lead to the

       discovery of admissible evidence. Also, the United States objects to this Request to the

       extent that it states that disclosure statements are “filed.” The statements are not filed in

       any court, rather, they are served on the Attorney General pursuant to 31 U.S.C. §

       3730(b)(2).

       58.     From any time period, all qui tam complaints or disclosure statements pursuant to

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31 U.S.C. § 3730(b)(2) provided to the U.S. Government or any state government relating to

payment of drugs under Medicare Part B or Medicaid, as well as Documents sufficient to identify

which Persons within the U.S. Government, state governments, Medicare Carriers, and Medicaid

Intermediaries received those documents, and when and under what circumstances such Persons

received those documents.

       Response:      Objection, to the extent that this Request seeks documents that relate to

       matters, if any exist, under seal and which are protected by the law enforcement files

       privilege, as well as the False Claims Act, which provides that a relator’s statement of

       material evidence is not a public document and is provided to the Government under seal

       to assist its investigation. Moreover, disclosure statements are protected by privileges that

       may be asserted by relator, and accordingly, to the extent that the United States possesses

       any such documents, they are protected by the joint prosecution/common interest doctrine.

       Objection, to the extent that the Request seeks documents that are neither relevant to the

       claims or defenses of any party nor reasonably calculated to lead to the discovery of

       admissible evidence. Objection, to the extent that qui tam complaints are no longer under

       seal by court order and are thus publicly available, they are equally accessible to Abbott.

       59.     From any time period, all Communications between Ven-A-Care and the U.S.

Government concerning the prices paid by Providers for drugs and/or payment of drugs under

Medicare Part B or Medicaid, including all presentations, questionnaires, or exchanges of data.

       Response:      Objection, to the extent that this Request seeks documents which are

       protected by the joint prosecution/common interest doctrine and the attorney-client or law

       enforcement investigative file privileges. Objection, to the extent that the Request seeks

       documents that are neither relevant to the claims or defenses of any party nor reasonably

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       calculated to lead to the discovery of admissible evidence.

       60.     From any time period, all Communications between Ven-A-Care and the U.S.

Government concerning Ven-A-Care's efforts to persuade the U.S. Government to intervene in

any drug pricing litigation.

       Response:       Objection, to the extent that this Request seeks documents which are

       protected by the attorney work-product and joint prosecution/common interest doctrines

       and the law enforcement investigative file privilege. Objection, to the extent that the

       Request seeks documents that are neither relevant to the claims or defenses of any party

       nor reasonably calculated to lead to the discovery of admissible evidence.

       61.     All Communications referenced in an October 2, 1996 letter from Ven-A-Care to

Dr. Bruce Vladeck (attached at Tab 6), and all Documents relating to that document and to those

Communications.

       Response:       Objection, to the extent that this Request is unduly vague and, to the extent

       it, seeks reports that are publicly available and as easilly accessible by Abbott. Objection,

       to the extent this Request calls for the production of documents protected by the attorney

       work-product doctrine, the joint prosecution/common interest doctrines and the attorney-

       client privilege. Objection, to the extent that the Request seeks documents that are neither

       relevant to the claims or defenses of any party nor reasonably calculated to lead to the

       discovery of admissible evidence. Subject to and without waiving its specific and general

       objections, and objections to Abbott’s definitions and instructions, the United States

       reserves the right to further respond to this request and may supplement the response

       based upon consultation with counsel for Abbott.

       62.     Documents sufficient to identify which Persons, including Persons within the U.S.

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Government, any state government, or any Medicare Carrier or Medicaid Intermediary, received

the October 2, 1996 letter from Ven-A-Care to Dr. Bruce Vladeck (attached at Tab 6) or any

similar letter provided to a different addressee. Subject to and without waiving its specific and

general objections, and objections to Abbott’s definitions and instructions, the United States

reserves the right to further respond to this request and may supplement the response based upon

consultation with counsel for Abbott.

       Response:       Objection, to the extent that this Request seeks documents that are neither

       relevant to the claims or defenses of any party nor reasonably calculated to lead to the

       discovery of admissible evidence. Objection, to the extent this Request calls for the

       production of documents protected by the attorney work-product doctrine, the joint

       prosecution/common interest doctrines and the attorney-client privilege. To the extent

       that this Request calls for the production of documents in the possession, custody or

       control of "Medicaid Fiscal Intermediaries," other state contractors, or from state

       Medicaid agencies, which are not in the possession, custody or control of the U.S.

       Government, the United States is not obligated to obtain such documents from these

       entities and produce those documents to Abbott pursuant to these Requests.

       63.     From any time period, all Communications between Ven-A-Care and any State

Medicaid Program, any MFCU, any Medicare Carrier or Medicaid Intermediary, or any state

governmental agency, entity, employee, consultant, or attorney concerning the prices paid by

Providers for drugs and/or payment of drugs under Medicare Part B or Medicaid, including all

presentations, questionnaires, or exchanges of data.

       Response:       Objection, to the extent that this Request calls for the production of

       documents that are not within the possession, custody, or control of the United States.

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       Objection, to the extent that the Request seeks documents which are protected by

       privileges held by relator and other entities which have not been waived, pursuant to the

       joint prosecution/common interest and attorney work-product doctrines and the attorney-

       client privilege. Objection, to the extent that the Request seeks documents that are neither

       relevant to the claims or defenses of any party nor reasonably calculated to lead to the

       discovery of admissible evidence. To the extent that this Request calls for the production

       of documents in the possession, custody or control of "Medicaid Fiscal Intermediaries,"

       other state contractors, or from state Medicaid agencies, which are not in the possession,

       custody or control of the U.S. Government, the United States is not obligated to obtain

       such documents from these entities and produce those documents to Abbott pursuant to

       these Requests.

       64.     From any time period, all Communications between Ven-A-Care and any

Publisher concerning the prices paid by Providers for drugs and/or the payment of drugs under

Medicare Part B or Medicaid, including all presentations, questionnaires, or exchanges of data.

       Response:      Objection, to the extent that this Request calls for the production of

       documents that are not within the possession, custody, or control of the United States.

       Objection, to the extent that the Request seeks documents which are protected by

       privileges held by relator and other entities which have not been waived, pursuant to the

       joint prosecution/common interest and attorney work-product doctrines and attorney-

       client privilege. Objection, to the extent that the Request seeks documents that are neither

       relevant to the claims or defenses of any party nor reasonably calculated to lead to the

       discovery of admissible evidence.

       65.     All pleadings or other Documents filed in United States ex rel. Ven-A-Care vs.

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Abbott Labs., et al., Case No. 95-1354-CIV-GOLD, United States District Court for the Southern

District of Florida.

        Response:      Objection, to the extent that this Request is cumulative and duplicative of

        other Requests and calls for the production of documents previously produced to Abbott.

        Objection, to the extent that this Request calls information filed under seal pursuant to

        statute or court order. Objection, to the extent that the Request seeks documents that are

        neither relevant to the claims or defenses of any party nor reasonably calculated to lead to

        the discovery of admissible evidence.

Category 7: Medicare Carriers and Medicaid Intermediaries

        66.     Documents sufficient to identify all Medicare Carriers, as well as the time period

and geographical areas for which they served, including name, address, and contact information.

        Response:      Subject to and without waiving its specific and general objections, and

        objections to Abbott’s definitions and instructions, the United States will produce

        documents that fall within this category regarding any matter not privileged and that are

        relevant to the claims and defenses in this case or which may lead to the discovery of

        admissible evidence. The documents will be produced on a rolling basis in a mutually

        convenient format and manner to be agreed upon by the parties.

        67.     Documents sufficient to identify all Medicaid Intermediaries and any other vendor

used by State Medicaid Programs in connection with the payment of drugs, as well as the time

period and geographical areas for which they served, including name, address, and contact

information.

        Response:      To the extent that this Request calls for the production of documents in the

        possession, custody or control of "Medicaid Fiscal Intermediaries," other state contractors,

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       or from state Medicaid agencies, which are not in the possession, custody or control of the

       U.S. Government, the United States is not obligated to obtain such documents from these

       entities and produce those documents to Abbott pursuant to these Requests. Subject to

       and without waiving its specific and general objections, and objections to Abbott’s

       definitions and instructions, the United States will produce documents that fall within this

       category regarding any matter not privileged and that are relevant to the claims and

       defenses in this case or which may lead to the discovery of admissible evidence. The

       documents will be produced on a rolling basis in a mutually convenient format and

       manner to be agreed upon by the parties.

       68.      Documents sufficient to identify the corporate structure of any Medicare Carrier or

Medicaid Intermediary during the period that it acted as a Medicare Carrier or Medicaid

Intermediary.

       Response:       To the extent that this Request calls for the production of documents in the

       possession, custody or control of "Medicaid Fiscal Intermediaries," other state contractors,

       or from state Medicaid agencies, which are not in the possession, custody or control of the

       U.S. Government, the United States is not obligated to obtain such documents from these

       entities and produce those documents to Abbott pursuant to these Requests. Subject to

       and without waiving its specific and general objections, and objections to Abbott’s

       definitions and instructions, the United States will produce documents that fall within this

       category regarding any matter not privileged and that are relevant to the claims and

       defenses in this case or which may lead to the discovery of admissible evidence. The

       documents will be produced on a rolling basis in a mutually convenient format and

       manner to be agreed upon by the parties.

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       69.      Documents, such as employee directories or organizational charts, sufficient to

identify the names, titles, and/or job descriptions of employees of any Medicare Carrier or

Medicaid Intermediary during the period that it acted as a Medicare Carrier or Medicaid

Intermediary.

       Response:       To the extent that this Request calls for the production of documents in the

       possession, custody or control of "Medicaid Fiscal Intermediaries," other state contractors,

       or from state Medicaid agencies, which are not in the possession, custody or control of the

       U.S. Government, the United States is not obligated to obtain such documents from these

       entities and produce those documents to Abbott pursuant to these Requests. Subject to

       and without waiving its specific and general objections, and objections to Abbott’s

       definitions and instructions, the United States will produce documents that fall within this

       category regarding any matter not privileged and that are relevant to the claims and

       defenses in this case or which may lead to the discovery of admissible evidence. The

       documents will be produced on a rolling basis in a mutually convenient format and

       manner to be agreed upon by the parties.

       70.      Documents sufficient to identify the members of each Medicare Carrier or

Medicaid Intermediary's Carrier Advisory Committee (or other equivalent group or committee),

including documents sufficient to identify each member's name, current or last known address,

and, if the member is a physician, the member's specialty.

       Response:       Objection, to the extent that this Request seeks documents that are neither

       relevant to the claims or defenses of any party nor reasonably calculated to lead to the

       discovery of admissible evidence. To the extent that this Request calls for the production

       of documents in the possession, custody or control of "Medicaid Fiscal Intermediaries,"

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       other state contractors, or from state Medicaid agencies, which are not in the possession,

       custody or control of the U.S. Government, the United States is not obligated to obtain

       such documents from these entities and produce those documents to Abbott pursuant to

       these Requests. Subject to and without waiving its specific and general objections, and

       objections to Abbott’s definitions and instructions, the United States may produce

       documents that fall within this category regarding any matter not privileged and that are

       relevant to the claims and defenses in this case or which may lead to the discovery of

       admissible evidence. The documents will be produced on a rolling basis in a mutually

       convenient format and manner to be agreed upon by the parties.

       71.    From January 1, 1965 to the end of the Relevant Claim Period, all

Communications between any Medicare Carrier or Medicaid Intermediary and Abbott regarding

payment for drugs under Medicare Part B or Medicaid.

       Response:      Objection, to the extent that this Request is overly broad, vague, and

       unduly burdensome. To the extent that this Request calls for the production of documents

       in the possession, custody or control of "Medicaid Fiscal Intermediaries," other state

       contractors, or from state Medicaid agencies, which are not in the possession, custody or

       control of the U.S. Government, the United States is not obligated to obtain such

       documents from these entities and produce those documents to Abbott pursuant to these

       Requests. Subject to and without waiving its specific and general objections, and

       objections to Abbott’s definitions and instructions, the United States will produce

       documents that fall within this category regarding any matter not privileged and that are

       relevant to the claims and defenses in this case or which may lead to the discovery of

       admissible evidence. The documents will be produced on a rolling basis in a mutually

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       convenient format and manner to be agreed upon by the parties.

       72.     From January 1, 1965 to the end of the Relevant Claim Period, all

Communications between any Medicare Carrier or Medicaid Intermediary and any other

Medicare Carrier, Medicaid Intermediary, or Provider concerning AWP, WAC, AMP, Direct

price and/or List price, or the methodology to be used in calculating payment for drugs under

Medicare Part B or Medicaid.

       Response:      Objection, to the extent that this Request is overly broad, vague, and

       unduly burdensome. To the extent that this Request calls for the production of documents

       in the possession, custody or control of "Medicaid Fiscal Intermediaries," other state

       contractors, or from state Medicaid agencies, which are not in the possession, custody or

       control of the U.S. Government, the United States is not obligated to obtain such

       documents from these entities and produce those documents to Abbott pursuant to these

       Requests. Subject to and without waiving its specific and general objections, and

       objections to Abbott’s definitions and instructions, the United States has provided

       substantial materials which are responsive to this Request as part of its Rule 26(a) Initial

       Disclosures. Subject to and without waiving its specific and general objections, and

       objections to Abbott’s definitions and instructions, the United States may produce

       additional documents that fall within this category regarding any matter not privileged and

       that are relevant to the claims and defenses in this case or which may lead to the discovery

       of admissible evidence. The documents will be produced on a rolling basis in a mutually

       convenient format and manner to be agreed upon by the parties.

       73.     From January 1, 1965 to the end of the Relevant Claim Period, all Documents

relating to any discussions or meetings at any Medicare Carrier or Medicaid Intermediary

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concerning the use of some figure, price, or methodology other than AWP as a measure of

reimbursement for drugs by Medicare Part B, Medicaid, or private insurers.

       Response:      Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, or seeks documents that are neither relevant to the claims or defenses of any

       party nor reasonably calculated to lead to the discovery of admissible evidence. To the

       extent that this Request calls for the production of documents in the possession, custody or

       control of "Medicaid Fiscal Intermediaries," other state contractors, or from state

       Medicaid agencies, which are not in the possession, custody or control of the U.S.

       Government, the United States is not obligated to obtain such documents from these

       entities and produce those documents to Abbott pursuant to these Requests. Subject to

       and without waiving its specific and general objections, and objections to Abbott’s

       definitions and instructions, the United States has provided substantial materials which are

       responsive to this Request as part of its Rule 26(a) Initial Disclosures.

       74.    From January 1, 1965 to the end of the Relevant Claim Period, all Documents

concerning whether any Medicare Carrier or Medicaid Intermediary knew or was on notice that

AWP exceeded the actual or average acquisitions costs of Providers.

       Response:      Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, or seeks documents that are neither relevant to the claims or defenses of any

       party nor reasonably calculated to lead to the discovery of admissible evidence. To the

       extent that this Request calls for the production of documents in the possession, custody or

       control of "Medicaid Fiscal Intermediaries," other state contractors, or from state

       Medicaid agencies, which are not in the possession, custody or control of the U.S.

       Government, the United States is not obligated to obtain such documents from these

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       entities and produce those documents to Abbott pursuant to these Requests. Subject to

       and without waiving its specific and general objections, and objections to Abbott’s

       definitions and instructions, the United States has provided substantial materials which are

       responsive to this Request as part of its Rule 26(a) Initial Disclosures.

       75.     From January 1, 1965 to the end of the Relevant Claim Period, all

Communications between any Medicare Carrier or Medicaid Intermediary and the U.S.

Government or any state government concerning whether AWP exceeded the actual or average

acquisition costs of Providers.

       Response:       Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, cumulative and duplicative of other Requests, or seeks documents that are

       neither relevant to the claims or defenses of any party nor reasonably calculated to lead to

       the discovery of admissible evidence. To the extent that this Request calls for the

       production of documents in the possession, custody or control of "Medicaid Fiscal

       Intermediaries," other state contractors, or from state Medicaid agencies, which are not in

       the possession, custody or control of the U.S. Government, the United States is not

       obligated to obtain such documents from these entities and produce those documents to

       Abbott pursuant to these Requests.

       76.     From January 1, 1965 to the end of the Relevant Claim Period, all Documents

concerning whether AWP exceeded the actual or average price at which private insurers or any

governmental payor paid for drugs eligible for reimbursement under Medicare Part B or

Medicaid.

       Response:       Objection, to the extent that this Request is overly broad, vague, unduly

       burdensome, cumulative and duplicative of other Requests, or seeks documents that are

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       neither relevant to the claims or defenses of any party nor reasonably calculated to lead to

       the discovery of admissible evidence.

       77.     From January 1, 1965 to the end of the Relevant Claim Period, all Documents

concerning whether the U.S. Government, any state government, any Medicare Carrier or

Medicaid Intermediary, governmental payor, or private insurer knew that Manufacturers

marketed the "spread" (as that term is used in paragraph 3 of the Complaint) and/or the difference

between payment under Medicare Part B or Medicaid and actual or average acquisition costs of

Providers.

       Response:      Objection, to the extent that this Request is overly broad, vague, or seeks

       documents that are neither relevant to the claims or defenses of any party nor reasonably

       calculated to lead to the discovery of admissible evidence. To the extent that this Request

       calls for the production of documents in the possession, custody or control of "Medicaid

       Fiscal Intermediaries," other state contractors, or from state Medicaid agencies, which are

       not in the possession, custody or control of the U.S. Government, the United States is not

       obligated to obtain such documents from these entities and produce those documents to

       Abbott pursuant to these Requests. Subject to and without waiving its specific and

       general objections, and objections to Abbott’s definitions and instructions, the United

       States will produce documents that relate to Abbott Laboratories which are not privileged

       and that are relevant to the claims and defenses in this case or which may lead to the

       discovery of admissible evidence. The documents will be produced on a rolling basis in a

       mutually convenient format and manner to be agreed upon by the parties.

       78.     From January 1, 1965 to the end of the Relevant Claim Period, all Documents

concerning the "spread" (as that term is used in paragraph 3 of the Complaint) and/or the

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difference between payment under Medicare Part B or Medicaid and actual or average acquisition

costs of Providers.

       Response:      Objection, to the extent that this Request is overly broad, vague,

       cumulative and duplicative of other Requests, or seeks documents that are neither relevant

       to the claims or defenses of any party nor reasonably calculated to lead to the discovery of

       admissible evidence. Subject to and without waiving its specific and general objections,

       and objections to Abbott’s definitions and instructions, the United States will produce

       documents that relate to Abbott Laboratories which are not privileged and that are relevant

       to the claims and defenses in this case or which may lead to the discovery of admissible

       evidence. The documents will be produced on a rolling basis in a mutually convenient

       format and manner to be agreed upon by the parties.

       79.     All Documents produced by any Medicare Carrier or Medicaid Intermediary to

any governmental agency in connection with any investigation of drug pricing.

       Response:      Objection, to the extent that this Request seeks material protected by the

       attorney work-product doctrine and law enforcement investigative files and attorney-client

       privileges. Objection, to the extent that this Request seeks documents that are neither

       relevant to the claims or defenses of any party nor reasonably calculated to lead to the

       discovery of admissible evidence. To the extent that this Request calls for the production

       of documents in the possession, custody or control of "Medicaid Fiscal Intermediaries,"

       other state contractors, or from state Medicaid agencies, which are not in the possession,

       custody or control of the U.S. Government, the United States is not obligated to obtain

       such documents from these entities and produce those documents to Abbott pursuant to

       these Requests.

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       80.     All Documents produced by any Publisher to any governmental agency in

connection with any investigation of drug pricing.

       Response:       Objection, to the extent that this Request seeks material covered by the

       attorney work-product doctrine and law enforcement investigative files and attorney-client

       privileges. Objection, to the extent that this Request seeks documents that are neither

       relevant to the claims or defenses of any party nor reasonably calculated to lead to the

       discovery of admissible evidence.

       81.     All Documents given to Plaintiff through formal or informal requests to third

parties concerning the prices, costs, or payments of the Subject Drugs.

       Response:       Objection, to the extent that this Request is overly broad, unduly

       burdensome, vague, or seeks documents protected from disclosure by the attorney work-

       product doctrine and the law enforcement investigative files privilege. Objection, to the

       extent that the Request seeks documents that are neither relevant to the claims or defenses

       of any party nor reasonably calculated to lead to the discovery of admissible evidence.

       82.     All Documents relating to any proceeding, including but not limited to lawsuits,

administrative or legislative proceedings, and criminal or civil investigations, at which any

Medicare Carrier or Medicaid Intermediary and/or its agents have testified concerning the pricing

of pharmaceutical products.

       Response:       Objection, to the extent that this Request is overly broad, vague, or seeks

       documents that are neither relevant to the claims or defenses of any party nor reasonably

       calculated to lead to the discovery of admissible evidence. To the extent that this Request

       calls for the production of documents in the possession, custody or control of "Medicaid

       Fiscal Intermediaries," other state contractors, or from state Medicaid agencies, which are

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       not in the possession, custody or control of the U.S. Government, the United States is not

       obligated to obtain such documents from these entities and produce those documents to

       Abbott pursuant to these Requests. Subject to and without waiving its specific and

       general objections, and objections to Abbott’s definitions and instructions, the United

       States will produce documents that fall within this category regarding any matter not

       privileged and that are relevant to the claims and defenses in this case or which may lead

       to the discovery of admissible evidence. The documents will be produced on a rolling

       basis in a mutually convenient format and manner to be agreed upon by the parties.

Category 8: Plaintiff's Allegations

       83.     All Documents identified in Your initial disclosures under FRCP 26(a)(1).

       Response:       Objection, these documents have already been produced, hence the Request

       is cumulative and duplicative of other requests.

       84.     In paragraph 3 of the Complaint, Plaintiff states that "Abbott reported false,

fraudulent and inflated drug prices for certain drugs (listed in ¶¶ 31 and 35 below) to several price

reporting compendia that the Medicare and Medicaid programs relied upon to set reimbursement

rates for Abbott's customers." Produce all Documents that support, concern, or refute your

contention.

       Response:       Objection, to the extent that this Request seeks material protected by the

       attorney work-product doctrine. Objection, to the extent that material responsive to the

       Request is in the possession, custody, or control of Abbott. Subject to and without

       waiving its specific and general objections, and objections to Abbott’s definitions and

       instructions, the United States has provided substantial materials which are responsive to

       this Request as part of its Rule 26(a) Initial Disclosures. The United States reserves the

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       right to supplement this Response based upon Abbott’s responses to discovery requests

       propounded by the United States to Abbott and upon information obtained during

       discovery in this case.

       85.     In paragraph 3 of the Complaint, Plaintiff states that Abbott "marketed to existing

and potential Customers the government-funded ‘spread' between the inflated reimbursement

amounts and the actual acquisition costs of the drugs to boost its sales and profits." Produce all

Documents that support, concern, or refute your contention.

       Response:       Objection, to the extent that this Request seeks material protected by the

       attorney work-product doctrine. Objection, to the extent that material responsive to the

       Request is in the possession, custody, or control of Abbott. Subject to and without

       waiving its specific and general objections, and objections to Abbott’s definitions and

       instructions, the United States has provided substantial materials which are responsive to

       this Request as part of its Rule 26(a) Initial Disclosures. The United States reserves the

       right to supplement this Response based upon Abbott’s responses to discovery requests

       propounded by the United States to Abbott and upon information obtained during

       discovery in this case.

       86.     In paragraph 6 of the Complaint, Plaintiff states that "Abbott also routinely made

false statements directly to state Medicaid programs by reporting these same fraudulently inflated

prices to the states." Produce all Documents that support, concern, or refute your contention.

       Response:       Objection, to the extent that this Request seeks material protected by the

       attorney work-product doctrine. Objection, to the extent that material responsive to the

       Request is in the possession, custody, or control of Abbott. Subject to and without

       waiving its specific and general objections, and objections to Abbott’s definitions and

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       instructions, the United States has provided substantial materials which are responsive to

       this Request as part of its Rule 26(a) Initial Disclosures. The United States reserves the

       right to supplement this Response based upon Abbott’s responses to discovery requests

       propounded by the United States to Abbott and upon information obtained during

       discovery in this case.

       87.    In paragraph 37 of the Complaint, Plaintiff states: "The information contained in

the published pricing compendia was used by most third party payor insurance companies,

including the Medicare and Medicaid programs, in determining reimbursement rates for

prescription drugs." Produce all Documents relating to instances where third party payor

insurance companies did not use information contained in the published pricing compendia in

determining reimbursement rates for prescription drugs.

       Response:      Objection, to the extent that this Request seeks material protected by the

       attorney work-product doctrine. Objection, to the extent that material responsive to the

       Request is in the possession, custody, or control of Abbott. Subject to and without

       waiving its specific and general objections, and objections to Abbott’s definitions and

       instructions, the United States has provided substantial materials which are responsive to

       this Request as part of its Rule 26(a) Initial Disclosures. The United States reserves the

       right to supplement this Response based upon Abbott’s responses to discovery requests

       propounded by the United States to Abbott and upon information obtained during

       discovery in this case.

       88.    In paragraph 37 of the Complaint, Plaintiff states that "Abbott documents show

that Abbott knew of the impact of its price representations on government reimbursement on

claims submitted by its Customers for its drugs." Produce all Documents that support, concern,

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or refute your contention.

       Response:       Objection, to the extent that this Request seeks material protected by the

       attorney work-product doctrine. Subject to and without waiving its specific and general

       objections, and objections to Abbott’s definitions and instructions, the United States has

       provided substantial materials which are responsive to this Request as part of its Rule

       26(a) Initial Disclosures. The United States reserves the right to supplement this

       Response based upon Abbott’s responses to discovery requests propounded by the United

       States to Abbott and upon information obtained during discovery in this case.

       89.     As to the Subject Drugs and Equivalent Drugs, produce all Documents relating to

the use of MAC or the "providers' usual and customary charges" in determining the amount of

reimbursement under Medicaid. See paragraph 40 of the Complaint.

       Response:       Objection, to the extent that this Request seeks material protected by the

       attorney work-product doctrine. Objection, to the extent that material responsive to the

       Request is in the possession, custody, or control of Abbott. Subject to and without

       waiving its specific and general objections, and objections to Abbott’s definitions and

       instructions, the United States has provided substantial materials which are responsive to

       this Request as part of its Rule 26(a) Initial Disclosures. The United States reserves the

       right to supplement this Response based upon Abbott’s responses to discovery requests

       propounded by the United States to Abbott and upon information obtained during

       discovery in this case.

       90.     In paragraph 42 of the Complaint, Plaintiff states that "AWP is used to refer to the

price at which a pharmaceutical firm or a wholesaler sells a drug to a retail Customer who then

administers it to a patient." Produce all Documents that support, concern, or refute your

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contention.

       Response:      Objection, to the extent that this Request seeks material protected by the

       attorney work-product doctrine. Objection, to the extent that material responsive to the

       Request is in the possession, custody, or control of Abbott. Subject to and without

       waiving its specific and general objections, and objections to Abbott’s definitions and

       instructions, the United States has provided substantial materials which are responsive to

       this Request as part of its Rule 26(a) Initial Disclosures. The United States reserves the

       right to supplement this Response based upon Abbott’s responses to discovery requests

       propounded by the United States to Abbott and upon information obtained during

       discovery in this case.

       91.     In paragraph 42 of the Complaint, Plaintiff states that "WAC is used to refer to the

price at which a pharmaceutical firm typically sells a drug to wholesalers who would then resell it

to a retail customer." Produce all Documents that support, concern, or refute your contention.

       Response:      Objection, to the extent that this Request seeks material protected by the

       attorney work-product doctrine. Objection, to the extent that material responsive to the

       Request is in the possession, custody, or control of Abbott. Subject to and without

       waiving its specific and general objections, and objections to Abbott’s definitions and

       instructions, the United States has provided substantial materials which are responsive to

       this Request as part of its Rule 26(a) Initial Disclosures. The United States reserves the

       right to supplement this Response based upon Abbott’s responses to discovery requests

       propounded by the United States to Abbott and upon information obtained during

       discovery in this case.

       92.     In paragraph 45 of the Complaint, Plaintiff states that "some State Medicaid

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programs also received price representations directly from manufacturers, and relied upon these

representations to confirm the accuracy of the figures they use to determine state reimbursement

amounts." Produce all Documents that support, concern, or refute your contention.

       Response:      Objection, to the extent that this Request seeks material protected by the

       attorney work-product doctrine. Objection, to the extent that material responsive to the

       Request is in the possession, custody, or control of Abbott. Subject to and without

       waiving its specific and general objections, and objections to Abbott’s definitions and

       instructions, the United States has provided substantial materials which are responsive to

       this Request as part of its Rule 26(a) Initial Disclosures. The United States reserves the

       right to supplement this Response based upon Abbott’s responses to discovery requests

       propounded by the United States to Abbott and upon information obtained during

       discovery in this case.

       93.     In paragraph 46 of the Complaint, Plaintiff states: "In general, Medicare relied on

median AWPs to set reimbursement rates." Produce all Documents relating to instances where

Medicare did not rely on median AWPs to set reimbursement rates.

       Response:      Objection, to the extent that this Request seeks material protected by the

       attorney work-product doctrine. Objection, to the extent that material responsive to the

       Request is in the possession, custody, or control of Abbott. Subject to and without

       waiving its specific and general objections, and objections to Abbott’s definitions and

       instructions, the United States has provided substantial materials which are responsive to

       this Request as part of its Rule 26(a) Initial Disclosures. The United States reserves the

       right to supplement this Response based upon Abbott’s responses to discovery requests

       propounded by the United States to Abbott and upon information obtained during

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       discovery in this case.

       94.    In paragraph 56 of the Complaint, Plaintiff states: "The Customers purchased the

products directly from Abbott, through a GPO contract or through wholesalers." Produce all

Documents concerning the amounts that Customers actually paid for the Subject Drugs.

       Response:      Objection, to the extent that this Request seeks material protected by the

       attorney work-product doctrine. Objection, to the extent that material responsive to the

       Request is in the possession, custody, or control of Abbott. Subject to and without

       waiving its specific and general objections, and objections to Abbott’s definitions and

       instructions, the United States has provided substantial materials which are responsive to

       this Request as part of its Rule 26(a) Initial Disclosures. The United States reserves the

       right to supplement this Response based upon Abbott’s responses to discovery requests

       propounded by the United States to Abbott and upon information obtained during

       discovery in this case.

       95.    In paragraph 59 of the Complaint, Plaintiff states that a "DP is supposed to reflect

the price paid by a Customer that buys drugs directly from Abbott and not through a wholesaler."

Produce all Documents that support, concern, or refute your contention.

       Response:      Objection, to the extent that this Request seeks material protected by the

       attorney work-product doctrine. Objection, to the extent that material responsive to the

       Request is in the possession, custody, or control of Abbott. Subject to and without

       waiving its specific and general objections, and objections to Abbott’s definitions and

       instructions, the United States has provided substantial materials which are responsive to

       this Request as part of its Rule 26(a) Initial Disclosures. The United States reserves the

       right to supplement this Response based upon Abbott’s responses to discovery requests

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       propounded by the United States to Abbott and upon information obtained during

       discovery in this case.

       96.    In paragraph 60 of the Complaint, Plaintiff states: "Abbott was aware of how the

Price Publications set its AWPs and knew (1) that the markup remained constant and (2) that its

DPs ultimately controlled the AWP reported by the Price Publications for many of its products."

Produce all Documents that support, concern, or refute your contention.

       Response:      Objection, to the extent that this Request seeks material protected by the

       attorney work-product doctrine. Objection, to the extent that material responsive to the

       Request is in the possession, custody, or control of Abbott. Subject to and without

       waiving its specific and general objections, and objections to Abbott’s definitions and

       instructions, the United States has provided substantial materials which are responsive to

       this Request as part of its Rule 26(a) Initial Disclosures. The United States reserves the

       right to supplement this Response based upon Abbott’s responses to discovery requests

       propounded by the United States to Abbott and upon information obtained during

       discovery in this case.

       97.    In paragraph 61 of the Complaint, Plaintiff states: "In some circumstances, Abbott

itself calculated and supplied the AWP which it sought to have published." Produce all

Documents that support, concern, or refute your contention.

       Response:      Objection, to the extent that this Request seeks material protected by the

       attorney work-product doctrine. Objection, to the extent that material responsive to the

       Request is in the possession, custody, or control of Abbott. Subject to and without

       waiving its specific and general objections, and objections to Abbott’s definitions and

       instructions, the United States has provided substantial materials which are responsive to

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       this Request as part of its Rule 26(a) Initial Disclosures. The United States reserves the

       right to supplement this Response based upon Abbott’s responses to discovery requests

       propounded by the United States to Abbott and upon information obtained during

       discovery in this case.

       98.    In paragraph 65 of the Complaint, Plaintiff states: "Abbott reported increasingly

higher prices for the Drugs from at least on or before January 1, 1991 through 2001. At the same

time, the prices Abbott actually charged to its Customers decreased or remained the same."

Produce all Documents that support, concern, or refute your contention.

       Response:      Objection, to the extent that this Request seeks material protected by the

       attorney work-product doctrine. Objection, to the extent that material responsive to the

       Request is in the possession, custody, or control of Abbott. Subject to and without

       waiving its specific and general objections, and objections to Abbott’s definitions and

       instructions, the United States has provided substantial materials which are responsive to

       this Request as part of its Rule 26(a) Initial Disclosures. The United States reserves the

       right to supplement this Response based upon Abbott’s responses to discovery requests

       propounded by the United States to Abbott and upon information obtained during

       discovery in this case.

       99.    In paragraph 69 of the Complaint, Plaintiff states: "Over that time period [1989

through 2001], Medicare and Medicaid paid in excess of $75 million for Abbott's Vancomycin."

Produce all Documents that support, concern, or refute your contention, including all documents

indicating the U.S. Government paid over $75 million for Abbott's Vancomycin.

       Response:      Objection, to the extent that this Request seeks material protected by the

       attorney work-product doctrine. Objection, to the extent that the Request seeks

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       information or documents which are in the possession, custody, or control of Abbott or are

       publicly available and thus equally accessible to both parties. Subject to and without

       waiving its specific and general objections, and objections to Abbott’s definitions and

       instructions, with respect to Medicaid expenditures for Vancomycin, the United States

       directs Abbott to State Drug Utilization Data available on CMS’ web site at

       http://www.cms.hhs.gov/MedicaidDrugRebateProgram/SDUD/list.asp. With respect to

       Medicaid expenditures for Vancomycin, the United States directs Abbott to CMS

       1991-2004 Physician Supplier Procedure Summary Master File produced as part of its

       Rule 26(a) Initial Disclosures. Subject to and without waiving its specific and general

       objections, and objections to Abbott’s definitions and instructions, additional Medicare

       and Medicaid expenditure data will be produced on a rolling basis in a mutually

       convenient format and manner to be agreed upon by the parties.

       100.    For the time period 1989 through 2001, all Documents concerning the actual

acquisition costs that Abbott's Customers paid for Vancomycin that were reimbursed by Medicare

or Medicaid.

       Response:      Objection, to the extent that material responsive to the Request is in the

       possession, custody, or control of Abbott. Subject to and without waiving its specific and

       general objections, and objections to Abbott’s definitions and instructions, the United

       States has provided substantial materials which are responsive to this Request as part of its

       Rule 26(a) Initial Disclosures. The United States reserves the right to supplement this

       Response based upon Abbott’s responses to discovery requests propounded by the United

       States to Abbott and upon information obtained during discovery in this case.

       101.    In paragraph 74 of the Complaint, Plaintiff states that "the percentage of Abbott's

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Vancomycin sales reimbursed by Medicaid increased from less than 10% in 1991 to

approximately 70% in 2000." Produce all Documents that support, concern, or refute your

contention.

       Response:      Objection, to the extent that this Request seeks material protected by the

       attorney work-product doctrine. Objection, to the extent that the Request seeks

       information or documents which are in the possession, custody, or control of Abbott or are

       publicly available and thus equally accessible to both parties. Subject to and without

       waiving its specific and general objections, and objections to Abbott’s definitions and

       instructions, with respect to Medicaid expenditures for Vancomycin, the United States

       directs Abbott to State Drug Utilization Data available on CMS’ web site at

       http://www.cms.hhs.gov/MedicaidDrugRebateProgram/SDUD/list.asp.

       102.    Paragraphs 75 through 79 contain contentions regarding Abbott's pricing of

Vancomycin. Produce all Documents from other Manufacturers concerning the pricing of

Equivalent Drugs to Vancomycin.

       Response:      Objection, to the extent that material responsive to the Request is in the

       possession, custody, or control of Abbott. Objection, to the extent that this Request seeks

       documents that are neither relevant to the claims or defenses of any party nor reasonably

       calculated to lead to the discovery of admissible evidence.

       103.    In paragraph 77 of the Complaint, Plaintiff states that "Abbott received numerous

complaints from Customers over the resulting decrease in the spread" of Vancomycin. Produce

all Documents that support, concern, or refute your contention.

       Response:      Objection, to the extent that material responsive to the Request is in the

       possession, custody, or control of Abbott. Subject to and without waiving its specific and

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       general objections, and objections to Abbott’s definitions and instructions, the United

       States has provided substantial materials which are responsive to this Request as part of its

       Rule 26(a) Initial Disclosures. The United States reserves the right to supplement this

       Response based upon Abbott’s responses to discovery requests propounded by the United

       States to Abbott and upon information obtained during discovery in this case.

       104.    In paragraph 77 of the Complaint, Plaintiff states that "Abbott documents show

Abbott's pricing personnel carefully considering the additional profits they could generate for

Abbott's Customers if they artificially re-inflated the reported prices for Vancomycin 1 GM FTV

at various levels." Produce all Documents that support, concern, or refute your contention.

       Response:       Objection, to the extent that material responsive to the Request is in the

       possession, custody, or control of Abbott. Subject to and without waiving its specific and

       general objections, and objections to Abbott’s definitions and instructions, the United

       States has provided substantial materials which are responsive to this Request as part of its

       Rule 26(a) Initial Disclosures. The United States reserves the right to supplement this

       Response based upon Abbott’s responses to discovery requests propounded by the United

       States to Abbott and upon information obtained during discovery in this case.

       105.    In paragraph 83 of the Complaint, Plaintiff states: "Abbott tried to convince First

DataBank personnel not to set Abbott's AWP by reference to these new, lower WACs; Abbott

wanted First DataBank to continue to use Abbott's then still inflated DPs to maintain its inflated

AWPs. First DataBank refused Abbott's request." Produce all Documents that support, concern,

or refute your contention.

       Response:       Objection, to the extent that material responsive to the Request is in the

       possession, custody, or control of Abbott. Subject to and without waiving its specific and

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       general objections, and objections to Abbott’s definitions and instructions, the United

       States has provided substantial materials which are responsive to this Request as part of its

       Rule 26(a) Initial Disclosures. The United States reserves the right to supplement this

       Response based upon defendant’s responses to discovery requests propounded by the

       United States to Abbott and upon information obtained during discovery in this case.

       106.    In paragraph 88 of the Complaint, Plaintiff states: "Abbott's share of the Medicaid

market [for Vancomycin] has dropped steadily since the more accurate prices started being

published in 2001 and thereafter from approximately 70% in early 2001 to approximately 20% in

2004." Produce all Documents that support, concern, or refute your contention.

       Response:      Objection, to the extent that this Request seeks material protected by the

       attorney work-product doctrine. Objection, to the extent that the Request seeks

       information or documents which are in the possession, custody, or control of Abbott or are

       publicly available and thus equally accessible to both parties. Subject to that objection, as

       well as the general objections and objections to Abbott’s definitions and instructions, with

       respect to Medicaid expenditures for Vancomycin, the United States directs Abbott to the

       State Drug Utilization Data available on CMS’ web site at

       http://www.cms.hhs.gov/MedicaidDrugRebateProgram/SDUD/list.asp.

       107.    In paragraph 100 of the Complaint, Plaintiff states: "Abbott used the false and

fraudulent prices Abbott reported to the Price Publications for these water solutions to manipulate

reimbursement." Produce all Documents that support, concern, or refute your contention.

       Response:      Objection, to the extent that material responsive to the Request is in the

       possession, custody, or control of Abbott. Subject to and without waiving its specific and

       general objections, and objections to Abbott’s definitions and instructions, the United

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       States has provided substantial materials which are responsive to this Request as part of its

       Rule 26(a) Initial Disclosures. The United States reserves the right to supplement this

       Response based upon Abbott’s responses to discovery requests propounded by the United

       States to Abbott and upon information obtained during discovery in this case.

       108.    In paragraph 101 of the Complaint, Plaintiff states that "Abbott profited off the

scheme by increasing its sales volume and profits." Produce all Documents that support, concern,

or refute your contention.

       Response:       Objection, to the extent that material responsive to the Request is in the

       possession, custody, or control of Abbott. Subject to and without waiving its specific and

       general objections, and objections to Abbott’s definitions and instructions, the United

       States has provided substantial materials which are responsive to this Request as part of its

       Rule 26(a) Initial Disclosures. The United States reserves the right to supplement this

       Response based upon Abbott’s responses to discovery requests propounded by the United

       States to Abbott and upon information obtained during discovery in this case.

       109.    In paragraph 101 of the Complaint, Plaintiff states that "Medicare and Medicaid

have paid Abbott's Customers in excess of $100 million for Abbott's LVPs when the typical

acquisition costs for those Customers were a fraction of that amount." Produce all Documents

that support, concern, or refute your contention.

       Response:       Objection, to the extent that material responsive to the Request is in the

       possession, custody, or control of Abbott. Objection, to the extent that this Request seeks

       material protected by the attorney work-product doctrine. Subject to and without waiving

       its specific and general objections, and objections to Abbott’s definitions and instructions,

       with respect to Medicaid expenditures for Vancomycin, the United States directs Abbott

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       to State Drug Utilization Data available on CMS’ web site at

       http://www.cms.hhs.gov/MedicaidDrugRebateProgram/SDUD/list.asp. With respect to

       Medicaid expenditures for Vancomycin, the United States directs Abbott to CMS

       1991-2004 Physician Supplier Procedure Summary Master File produced as part of its

       Rule 26(a) Initial Disclosures. Additional Medicare and Medicaid expenditure data is

       being acquired and will be produced on a rolling basis..

       110.    For the time period that you contend Medicare and Medicaid paid in excess of

$100 million for Abbott's LVPs, all Documents concerning the actual acquisition costs paid by

the Customers who submitted the claims Plaintiff alleges were false.

       Response:       Objection, to the extent that material responsive to the Request is in the

       possession, custody, or control of Abbott. Subject to and without waiving its specific and

       general objections, and objections to Abbott’s definitions and instructions, the United

       States has provided substantial materials which are responsive to this Request as part of its

       Rule 26(a) Initial Disclosures. The United States reserves the right to supplement this

       Response based upon Abbott’s responses to discovery requests propounded by the United

       States to Abbott and upon information obtained during discovery in this case.

       111.    In paragraph 110 of the Complaint, Plaintiff states: "By obtaining monies as a

result of its violations of federal and state law, Abbott was unjustly enriched." Produce all

Documents that support, concern, or refute your contention.

       Response:       Objection, to the extent that material responsive to the Request is in the

       possession, custody, or control of Abbott. Subject to and without waiving its specific and

       general objections, and objections to Abbott’s definitions and instructions, the United

       States has provided substantial materials which are responsive to this Request as part of its

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       Rule 26(a) Initial Disclosures. Subject to and without waiving its specific and general

       objections, and objections to Abbott’s definitions and instructions, the United States has

       provided substantial materials which are responsive to this Request as part of its Rule

       26(a) Initial Disclosures. The United States reserves the right to supplement this

       Response based upon Abbott’s responses to discovery requests propounded by the United

       States to Abbott and upon information obtained during discovery in this case.

Category 9: Other

       112.    All recordings (video or audio), transcripts, interview memoranda, depositions,

notes, or other record of Communications made in the course of any investigation regarding drug

pricing.

       Response:       Objection, to the extent that this Request is overly broad, vague,

       cumulative and duplicative of other Requests, or seeks documents that are neither relevant

       to the claims or defenses of any party nor reasonably calculated to lead to the discovery of

       admissible evidence. Objection, to the extent that the Request seeks information protected

       by the attorney work-product doctrine and attorney-client and law enforcement

       investigative files privileges.

       113.    From January 1, 1965 to the end of the Relevant Claim Period, all Documents

concerning Communications between the U.S. Government and any Manufacturer, lobbying firm,

Provider, professional or trade group, patients' rights group, law firm, or any other

non-government organization relating to the payment of drugs or professional services associated

with the dispensing or administration of drugs under Medicare Part B or Medicaid and/or the cost

of Providers to acquire and/or dispense drugs.

       Response:       Objection, to the extent that this Request is overly broad, unduly

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       burdensome, vague, or seeks documents that are neither relevant to the claims or defenses

       of any party nor reasonably calculated to lead to the discovery of admissible evidence.

       114.   All Documents concerning any settlements with Manufacturers relating to the

pricing of drugs and payment for drugs by Medicare Part B or Medicaid.

       Response:      Objection, to the extent that this Request is overly broad, vague, or seeks

       documents that are neither relevant to the claims or defenses of any party nor reasonably

       calculated to lead to the discovery of admissible evidence. Objection, to the extent that

       the Request seeks documents protected by the attorney-client privilege and attorney work-

       product doctrine.

       115.   All Documents concerning any actual or proposed action, investigation, lawsuit, or

judicial proceeding on Your behalf to recover alleged overpayments from Providers who received

alleged overpayments for drugs under Medicare Part B or Medicaid.

       Response:      Objection, to the extent that this Request is overly broad, vague, or seeks

       documents that are neither relevant to the claims or defenses of any party nor reasonably

       calculated to lead to the discovery of admissible evidence. Objection, to the extent that

       the Request seeks documents protected by the attorney-client privilege and attorney work-

       product doctrine.

       116.   All Documents concerning any effort by the U.S. Government, any state

government, or any Medicare Carrier or Medicaid Intermediary to recover from Providers any

alleged overpayment made by Medicare Part B or Medicaid relating to drugs.

       Response:      Objection, to the extent that this Request is overly broad, vague, or seeks

       documents that are neither relevant to the claims or defenses of any party nor reasonably

       calculated to lead to the discovery of admissible evidence. Objection, to the extent that

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       the Request seeks documents protected by the attorney work-product doctrine and the

       attorney-client, law enforcement investigative files, and deliberative process privileges.

       To the extent that this Request calls for the production of documents in the possession,

       custody or control of "Medicaid Fiscal Intermediaries," other state contractors, or from

       state Medicaid agencies, which are not in the possession, custody or control of the U.S.

       Government, the United States is not obligated to obtain such documents from these

       entities and produce those documents to Abbott pursuant to these Requests.

       117.   All Documents relating to any decision to seek or not seek recovery from

Providers any alleged overpayment made by Medicare Part B or Medicaid relating to drugs.

       Response:      Objection, to the extent that this Request seeks documents that are neither

       relevant to the claims or defenses of any party nor reasonably calculated to lead to the

       discovery of admissible evidence. Objection, to the extent that the Request is overly

       broad, vague, unduly burdensome and cumulative and duplicative of previous Requests.

       Finally, the Request seeks documents protected by the attorney work-product doctrine and

       the attorney-client and deliberative process privileges.

       118.   From January 1, 1965 to the end of the Relevant Claim Period, all Documents

concerning efforts by the U.S. Government, any State Medicaid Program, or any Medicare

Carrier or Medicaid Intermediary to change the methodology for paying for drugs under Medicare

Part B or Medicaid.

       Response:      Objection, to the extent that this Request seeks documents that are neither

       relevant to the claims or defenses of any party nor reasonably calculated to lead to the

       discovery of admissible evidence. Objection, to the extent that the Request is overly

       broad, vague, unduly burdensome and cumulative and duplicative of previous Requests.

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       Finally, the Request seeks documents protected by the attorney work-product doctrine and

       the attorney-client and deliberative process privileges. To the extent that this Request

       calls for the production of documents in the possession, custody or control of "Medicaid

       Fiscal Intermediaries," other state contractors, or from state Medicaid agencies, which are

       not in the possession, custody or control of the U.S. Government, the United States is not

       obligated to obtain such documents from these entities and produce those documents to

       Abbott pursuant to these Requests.

       119.   From January 1, 1965 to the end of the Relevant Claim Period, all Documents

concerning efforts by the U.S. Government, any State Medicaid Program, or any Medicare

Carrier or Medicaid Intermediary to base payment for drugs under Medicare Part B or Medicaid

on a methodology that did not in any way rely upon AWP.

       Response:      Objection, to the extent that this Request seeks documents that are neither

       relevant to the claims or defenses of any party nor reasonably calculated to lead to the

       discovery of admissible evidence. Objection, to the extent that the Request is overly

       broad, vague, unduly burdensome and cumulative and duplicative of previous Requests.

       Objection, to the extent that the Request seeks documents protected by the attorney work-

       product doctrine and the attorney-client and deliberative process privileges. To the extent

       that this Request calls for the production of documents in the possession, custody or

       control of "Medicaid Fiscal Intermediaries," other state contractors, or from state

       Medicaid agencies, which are not in the possession, custody or control of the U.S.

       Government, the United States is not obligated to obtain such documents from these

       entities and produce those documents to Abbott pursuant to these Requests.

       120.   All Documents concerning any request by the U.S. Government to any

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Manufacturer, wholesaler, distributor, Publisher, or Provider for information concerning the

prices, costs, or reimbursement for drugs eligible for payment by Medicare Part B or Medicaid.

       Response:      Objection, to the extent that this Request is overly broad, vague and unduly

       burdensome. Subject to and without waiving its specific and general objections, and

       objections to Abbott’s definitions and instructions, the United States will produce

       documents that pertain to Abbott Laboratories regarding any matter not privileged and

       that are relevant to the claims and defenses in this case or which may lead to the discovery

       of admissible evidence. The documents will be produced on a rolling basis in a mutually

       convenient format and manner to be agreed upon by the parties.

       121.    Such Documents as will show whether the U.S. Government, any State Medicaid

Program, or any Medicare Carrier or Medicaid Intermediary ever questioned or complained to

any Manufacturer that the Manufacturer had failed to report prices for its products accurately,

including but not limited to written documentation of the complaint.

       Response:      Objection, to the extent that this Request is overly broad and vague. To the

       extent that this Request calls for the production of documents in the possession, custody or

       control of "Medicaid Fiscal Intermediaries," other state contractors, or from state

       Medicaid agencies, which are not in the possession, custody or control of the U.S.

       Government, the United States is not obligated to obtain such documents from these

       entities and produce those documents to Abbott pursuant to these Requests. Subject to

       and without waiving its specific and general objections, and objections to Abbott’s

       definitions and instructions, the United States will produce documents that pertain to

       Abbott Laboratories regarding any matter not privileged and that are relevant to the claims

       and defenses in this case or which may lead to the discovery of admissible evidence. The

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       documents will be produced on a rolling basis in a mutually convenient format and

       manner to be agreed upon by the parties.

       122.    Such Documents as will show when the U.S. Government, any State Medicaid

Program, or any Medicare Carrier or Medicaid Intermediary first became aware of any

Manufacturer reporting inflated drug prices and/or marketing the "spread" between payment

under Medicare Part B or Medicaid and actual or average acquisition costs of Providers.

       Response:      Objection, to the extent that this Request is overly broad and vague. To the

       extent that this Request calls for the production of documents in the possession, custody or

       control of "Medicaid Fiscal Intermediaries," other state contractors, or from state

       Medicaid agencies, which are not in the possession, custody or control of the U.S.

       Government, the United States is not obligated to obtain such documents from these

       entities and produce those documents to Abbott pursuant to these Requests. Subject to

       and without waiving its specific and general objections, and objections to Abbott’s

       definitions and instructions, the United States will produce documents that pertain to

       Abbott Laboratories regarding any matter not privileged and that are relevant to the claims

       and defenses in this case or which may lead to the discovery of admissible evidence. The

       documents will be produced on a rolling basis in a mutually convenient format and

       manner to be agreed upon by the parties.

       123.    Such Documents as will show when the U.S. Government, any State Medicaid

Program, or any Medicare Carrier or Medicaid Intermediary first informed Abbott or any

Manufacturer of any concern that Manufacturers were reporting inflated drug prices and/or

marketing the "spread" between payment under Medicare Part B or Medicaid and actual or

average acquisition costs of Providers.

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        Response:         Objection, to the extent that this Request is overly broad, vague and

        cumulative and duplicative of other Requests. To the extent that this Request calls for the

        production of documents in the possession, custody or control of "Medicaid Fiscal

        Intermediaries," other state contractors, or from state Medicaid agencies, which are not in

        the possession, custody or control of the U.S. Government, the United States is not

        obligated to obtain such documents from these entities and produce those documents to

        Abbott pursuant to these Requests. Subject to and without waiving these objections, the

        general objections and the objections to Abbott’s definitions and instructions, the United

        States will produce any non privileged documents that relate to communications by or

        from Abbott concerning its “marketing of the spread.” The documents will be produced

        on a rolling basis in a mutually convenient format and manner to be agreed upon by the

        parties.

        124.       All Documents concerning efforts by the Plaintiff to mitigate the damages alleged

in this case.

        Response:         Objection, to the extent that this Request seeks documents that are neither

        relevant to the claims or defenses of any party nor reasonably calculated to lead to the

        discovery of admissible evidence. Objection, to the extent that the Request is overly

        broad and vague.

        125.       All Documents concerning any notice of this litigation that was circulated to any

official, department, agency, or employee of the U.S. Government, any state government, or any

member of Congress.

        Response:         Objection, to the extent that this Request seeks documents that are neither

        relevant to the claims or defenses of any party nor reasonably calculated to lead to the

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       discovery of admissible evidence. Objection, to the extent that the Request is overly

       broad and vague.

       126.   All Documents in the possession of agencies or agents of the U.S. Government

previously withheld on privilege grounds that were responsive to Defendants’ subpoenas or

requests for documents in MDL 1456 and MDL 1430.

       Response:      Objection, to the extent that this Request seeks documents protected by the

       attorney work-product doctrine and the attorney-client, law enforcement investigative

       files, and deliberative process privileges.




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For the United States of America,

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Dated: November 29, 2006




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                                CERTIFICATE OF SERVICE

       I hereby certify that I have this day caused an electronic copy of the above RESPONSE

BY THE UNITED STATES TO ABBOTT’S FIRST SET OF REQUESTS FOR PRODUCTION

OF DOCUMENTS AND TANGIBLE THINGS TO THE UNITED STATES to be served on the

following counsel by electronic mail:


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Date: November 29, 2006
                                                          /s/
                                                   Justin Draycott
